ease 2:13-cv-11989-BAF-l\/1AR ECF No. 1 filed 05/<;§£3©@@[€@.4§1@9@ 1 of 95 q§

UNITED STATES DISTRICT COURT

 

FOR THE
EASTERN DISTRICT OF MICHIGAN
FLINT
Desmond Girard Walters
1301 W. Stewart Avenue
Flint, Michigan 48504-2279
(810) 931 - 5157
PLAINTIFF Ca$e: 2213-Cv-1 1989
Judge: Rosen, Gerald E.
IN MJ: Komives, Pau| J.
P 0 PER Filed: 05-03-2013 At 03:38 PM
R C|V|P Wa|ters v. N|ichigan, State of (krk)
Magistrate Judge:

VS
State of Michigan

Department of Licensing and Regulatory Affairs
Rae Ramsdell, Director BHP
P.O. BoX 30670
611 W. Ottawa
Lansing, Michigan 48909
(517) 335 - 0918

DEFENDANTS

 

C()MPLAINT

Complaint For: (1) Discrimination under the American With Disabilities Act of 1990,
Title II , (2) Intentional lnfliction of Emotional Distress .

 

 

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NOW COMES the Plaintiff/Applicant Desmond G. Walters ( here after plaintiff-applicant,
and in the third person i.e., he, him, his etc. ) on his own behalf Without representation or aide of
counsel.

Plaintiff has filed this Complaint with a Federal Agency designated in the Title ll regulation to
investigate Title ll Complaints and is not satisfied with the outcome. Moreover, the Plaintiff has
exhausted his administrative remedies and is now filing his Complaint in Federal Court based on
Official Documents or Act, the 2011 FINAL DENIALS for State licensing Pursuant to Title II-
9.1000 (1) & (2) ; Title II-9.2000 (2) ; under FRCP 9 (d) .

Plaintiff would like to report this is a Case that has been dismissed before, Case No. 09-13294,
before District Judge Bernard A. Friedman and Magistrate Judge Mark A. Randon, however
since that time, we have a new Governor and as a result, the Public Entity has a new name and
new Director, therefore this is a new Case, technically that is, in strict interpretation

Finally, the Plaintiff is not an attorney and is not trying to be one. He is only representing
himself to the best of his ability, humny as a Pro Se Litigant.

The Plaintiff/Applicant has been applying for a Michigan Occupational License for 16 years now,
in the beginning he had a criminal conviction history record which Was far enough in the past
then not to be considered, much less at this time. Two of his legal issues was related to alcohol
and other drugs. He is bring these consolidated Cases on his most recent Applications of 2009
with all his previous applications and prior denials from a historical perspective to prove the
ongoing cause of action - DISCRIMINATION. Due to the lack of communication with the
Plaintiff by the Defendants, he is compelled to keep attacking the State Agencies until he get’S
the relief requested.

The Applicant/Plaintiff has done everything the State Agencies have asked of him in a timely
manner when their necessity was brought to his attention, with no recognition, acknowledgment,
first chance or relief for doing so.

The Plaintiff/Applicant clearly believes he won the Hearing-Tribunals on the 2006 Applications
and again on the most recent 2009 Applications with no disrespect to either of the Administrative
Law Judge’s, he has too protect his Civil Rights.

 

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APPLICABLE LAWS

MCL 338.43 Sec.78 (l) The following criminal records shall not be used, examined, or
requested by a licensing board or agency in a determination of good moral character When used
as a requirement to establish or operate an organization or facility regulated by this state, or

pursuant to occupational or professional licensure .‘

(b) Records of a conviction which has been reversed or vacated, included the arrest records
relevant to that conviction.

 

(2) A criminal record shall not be furnished to a licensing board or agency except by the principle
department, and shall be furnished only after the Director of the principle department or a person
designated by the Director has determined that the information to be provided to the board or
agency meets the criteria set forth in this section.

 

 

DOCTORINE OF CONTRA NON VALENTEM

The rule that a limitations or prescriptive period does not begin to run against a plaintiff Who is
unable to act, usually because of the defendants culpable act such as concealing material
information that would give rise to the plaintiff s claim.

TITLE II

Title ll of the ADA applies to public agencies, including state and local governments lt provides
that people with disabilities cannot be discriminated against or excluded from the benefits of the
Services, Qrogams, or activities of a public entity because of disability.

The failure to make certain programs and activities accessible to disabled individuals can be
considered discrimination, such as licensing, a person is a “ qualified individuals with a
disability” with respect to licensing or certification if he or she can meet the essential eligibility
requirements for receiving the license and/or certification

Licensing programs often do require applicants to demonstrate specific skills, knowledge, and
abilities. Public Entities may not discriminate against qualifed individual with disabilities
who apply for licenses, but may considered factors related to the disability in determining
Whether the individual is “Qualifze ’.

 

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STATE IMMUNITY
Section 35.1 78 restate the provision of section 504 of the Act that the State is not immune under
the eleventh amendment to the Constitution of the United States from an action in Federal or
State court for violations of the Act, and that the same remedies are available for any such

violations of the Act, and that the same remedies are available for any such violations as are
available in an action against an entity other than a State.

The Plaintiff/Applicant Desmond Girard Walters, hails from Flint Genesee County, Michigan
and thus “Venue” is proper in the Federal District Court, Eastern District of Michigan.

l Desmond Walters the Plaintiff/Applicant state and allege on my Own behalf the following:

STATEMENT OF ALLEGATIONS

1. Plaintiff/Applicant alleges he has a valid Claim Count (1) under Title ll of the ADA, the
Defendants continuously keep discriminating against a “qualified individual with disabilities”
with respect to Licensing ( i.e., a Public Entities activity ) Who has applied for licenses 9
different times over 16 years for an actual loss, against their on policies, laws an the equal
protection clause, the Applicant asserts he meets the “essential eligibility requirements” he
is a Qualified individual by holding a Bachelors Degree in Social Work from the University
of Michigan @ Flint, the River Front Campus since April 27th, 1991. ln addition he holds an

Advanced or Graduate Degree in Counseling from De Paul University @ Chicago, the

Lincoln Park Campus since June l4“‘, 1997 .

 

 

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* Unfortunately, Plaintiff has a past record of disabilities including but not limited to drug
possession convictions, alcoholism, heart disease and §_U. Plaintiff says he also has
physical impairments that do not substantially limit maj or life activities ( i.e., working and
licensing ), but is being regarded as if they do, as a Way of compliance in recent years the
Plaintiff has even completed successfully 3 years of supervised Court-Ordered drug treatment

and having a criminal record is no barrier to Licensing. Finally, the Defendants do not have

 

11th Amendment immunity for violations of the Act, 8“‘ & 14th Amendments and or the
Constitution Pursuant to Title II-2.1000 (2) & (3) ; Title II-2.2000 (1-3) ; Title II-2.3000 (3)
Title II-2.5000 (1) & (2) ; Title II-Z. 6000 (2) ; Title II-3. 7200 ,° Title II-3.5300 ,'

Plaintiffs Exhibit 2 . [ Tr., pg. 74, lines 20-25 ; pg. 75, lines 1-7] .

2. A essential eligibility requirement for obtaining a license to practice a health profession is
the ability to practice Social Work and Counseling safely and competently. State Agency X
requires Applicants for licenses to practice a health profession to disclose whether they have
w had any physical and mental disabilities * A much more rigorous investigation is
undertaken of applicants answering in the affirmative than of others. This process violates
Title ll because of the additional burdens placed on individuals with disabilities, and because
the disclosure requirement is not limited to conditions that currently impairs one’s ability to

practice Social Work and Counseling Pursuant to Title II-3.5300 ; Title II-3. 7200 ;

Plaintiffs Exhibit 13 ;`Plaintiffs Exhibits 11 ; Plaintijfs Exhibit 7 .

 

 

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3. Applicant/Plaintiff contends that another prior denial on October 23rd , 1998 his second, on

page 2 of 5 & 6 of the current lntent to Denys was and is inappropriate and the Plaintiff
reports that the only issue that should have been before the Defendants are his qualifications
and moral character as they exist at that time or today according to MCL 3 3 8. 42 which is a
Claim Count (1) Retaliatory-Discrimination because the Defendants was actually offended by
the Plaintiff/Applicants Letter of opinion ( i.e., State’s Exhibit L ) on the 3 misdemeanor
convictions on his record that he was told to give an explanation on. Besides the Defendants
have some things the Plaintiff-Applicant wants, not the other way around therefore he would
not do or say anything to upset the Defendants intentionally. That being said, on page ll
from the initial ‘Proposal F or Decision’, Docket No. 2001-415 paragraph # 2 its clearly
stated by ALJ Renee A. Ozburn Quote: “ Unfortunately, Mr. Walters uncontrolled urge to
write a letter to the Board in 1997, did nothing to enhance his position that he is
rehabilitated from 10 and 20 year old convictions ” , end quote. Which is a violation of
the Constitution and or statute, the Defendants disregarded the Plaintiffs lSt Amendment
rights of ‘Liberty of Speech’ ( i.e., free speech ), and therefore discriminated by not issuing

: a registration/license by law(s), MCL 338.42, Sec. 2 and contrary to the Former Offenders

l Act, for which the right was created while of no benefit to the Defendants, failure to
exercise sound judgement causes damage to the Former Offender based on his
characteristics as such and for the Defendants to not follow state laws that provide second

chances by way of licensing ex-offenders is discrimination and a violation of his Civil

Liberty Rights Pursuant to Title II-3.11000 (2) .

 

 

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. Plaintiff pleads he has been applying for a Michigan Occupational License for 16 years, 9

different applications, unfortunately the Plaintiff/Applicant had a criminal background in

the beginning of 3 misdemeanors, now the first two from 1980 and 1981 was youthful
transgressions and was already over 15 years old before he first applied, an having a criminal
record is no barrier to licensing. Therefore, he has been denied 9x’s based solely on one
and the same misdemeanor “controlled substance” marijuana possession conviction over the
last 16 years, from June 12th, 1992. Furthermore, a person who casually used drugs illegally
in the past but did n_ot become addicted is p(_)t an individual with a disability based on the past
drug use. For a person to be protected as a person with a disability, s/he must have an
addiction rather than been a casual drug user. * Protected individuals include persons who
have successfully completed a supervised drug rehabilitation program or otherwise been
rehabilitated successfully and who are n__ot engaged in current illegal use of drugs.

* Finally, a person who is erroneously regarded as engaging in current illegal use of drugs is
protected. The Plaintiff applied because he was e_ligM and qualitted, actually w gyle
for the Social Work Technician registration or he would not have applied all he needed to
maintain employment in his chosen profession at the time, in order to take care of his family.
As a result of the Defendants intentional infliction of emotional distress due to their extreme
and outrageous conduct of having the Applicant be ‘regarded as’ a current user of illegal
drugs and mandating him to go to Rehabilitation without any legitimate and justifiable
reason and having damaged the Plaintiff by taking away the core of his life and all of his career

for sixteen years and is just now admitting it, in the 2009 Applications Final Denials dated

 

December 15th, 2011 ( i.e., received 12/22/2011 without proof of service ) the day after the

 

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Plaintiff/Applicants Birthday and during the Christmas Holidays is conduct underlying this tort
claim that is so outrageous in character, and so extreme in degree, as to go beyond all possible
bounds of decency, and to be regarded as atrocious and utterly intolerable in a civilized
community. This is severe oppression to hold the Applicant in a precarious/dependant position
without ppg allowing him a chance to live his dream is clearly discrimination, because the
Plaintiff/Applicant is what his M says he is and that’s a ‘ qualified ‘ person with a history/
M of present and past disabilities and or is being regarded as such which is also protected
under Title ll of the ADA. Pursuant to Title II-2.3000 (3) ; Title II-2. 6000 (1-3) ;

Title II-2.1000 (2) ; Title II-2.2000 (1-3) ; Title II-2. 5000 (1-2) ; Title II-2. 8000 (1) ;

Title II-3.11000 (2) ; Title II-3.7200 ; Plaintiffs Exhibits 2, 7, 8, & 11 ; State’s Exhibit H

5. The Plaintiff shall now prove what he has been saying all along with the documentary
evidence in support from the beginning in 1996 thru to the present 2011 that all his
Final Denials including the most recent two were based solely on his antiquated-old
disability record of a misdemeanor “controlled substance” marijuana possession conviction
that was over five years old when the final decision to deny him the registration/license was
made. A person who casually used drugs illegally in the past but did L)t become addicted is
n_ot an individual with a disability based on the past drug use. * However, a person who is
erroneously regarded as engaging in current illegal use of drugs is protected . Plaintiff
reports that his then prior employer Community Recovery Services, lnc., had drug tested the

Plaintiff previously that year for primarily Marij uana use with that test result being negative

for a_ll drugs that was available to them in the Defendants files, instead they utilized the drug

 

 

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test to fabricate false evidence against the Plaintiff to deny him a Public Entities activity
( i.e., registration/licensure ) for Lack of Good Moral Character - QMQ and no proof of
Rehabilitation which was at best erroneously believing the Applicant was currently using
illegal drugs, wilii,illy, maliciously and discriminately Contrary to M.E.S. C Act 29 (]) (m) (iii)
,' 7"' Circuit Court case no. 09-9]234 CZ , Exhibit X,' State ’s Exhibit H. Therefore, the
State Agencies decisions were not supported by competent, material and substantial evidence
on the whole record and was made upon unlawful procedures resulting in material prejudice
to the Plaintiff/Applicant Pursuant to Title II-2.3000 (3) & (4) ; Title II-2. 6000 (1-3) ;
Title II-2.2000 (1-3) ; Title II-3. 7200 ; Title II-3.11000 (2) ; 14"' Amendment ‘equal

protection clause’ ; Plaintiffs Exhibits 7, 8 specifically page four , & 11 .

6. Plaintiff also contends that he knows several women and men whom have at least a half
dozen felonies and a dozen misdemeanor on their criminal records and they are License
Master Social Workers they have been on illegal drugs, alcohol and have been to prison
a/k/a correctional facilities and for the Defendants to deny this Applicant for over sixteen
years is discrimination, because there is no reasonable explanation for this differential

treatment between those you like and those you don’t like. Plaintiff argues this is a violation
of the ‘equal protection clause’ and his fundamental rights or a suspect classification
between the Plaintiff and others. Governmental action that affects substantial rights or
make certain classifications necessitates the use of a heighten scrutiny test. Under this test,

the burden is on those defending the discrimination to show that the legislation serves

important governmental objectives and that the discriminatory means are substantially related

 

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to achieving the obj ectives. Pursuant to Title II-2.1000 (3) ; Title II-2.2000 (1-3) ;
Title II-2.3000 (3)(4) ; Title II-2. 5000 (1) ; Title II-2. 6000 (1-3) : Title II-2. 8000 (1) ;
Title II-3. 7200 ; Title II-3.1100 (2) ;Plaintiffs Exhibits 7, 8 pg. four , 13 ; State’s

Exhibit K .

7. Plaintiff alleges the Defendants are responsible for a Claim Count (l) Retaliatory-
Discrimination, when they reportedly sent false information to the National Practitioner
Data Bank on January 20th, 2012 saying his application for a master social work license was
denied. Furthermore, stating the Applicant failed to meet the initial requirements of a
license, which is all falsehoods/defamation The Plaintiff has never applied for a master
social work license and his denials for licensure was based solely on a twenty-one year old
misdemeanor ‘controlled substance’ marijuana possession from June 11‘h, 1992 , that is
punishable by one year, and which was five years old when his original application for a
social work technician registration was finally denied contrary to Public Act No. 299
PA 339. 602 of1980, section 604 (d) which states: “ Commits or has committed a felony
or a crime involving fraud or moral turpitude Mp the past he yLars “, end quote.,
on luly 22“d, 1997 at the BOARD OF EXAMINERS OF SOClAL WORK board meeting
for Lack of Good Moral Character - G_MQ and no proof of Rehabilitation , 16 years ago.

* A person who casually used drugs illegally in the past but did n_ot become addicted is n_ot

an individual with a disability based on the past drug use.

 

 

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Clearly, this is DlSCRll\/IINATION based on the Plaintiff/Applicant record of casual use
of a illicit drug against his Civil Rights of a person whom was being ‘ regarded as ‘ a
current or recent user of a illegal drug in violation of Title ll of the ADA. Pursuant to Title
II-3.11000 (2) ; Title II-2. 6000 (2) & (3) ; Title II-2.1000 (2) & (3) ; Title II-2.2000 (1-3) ;
Title II-2.5000 (1) & (2) ; Title II-2. 8000 (1) ; Title II-3.5200 ; Title II-3. 7200 ;

Title II- 3.9000 ; Plaintiffs Exhibit 10 ; Plaintiffs Exhibit 8 specifically page 4 .

8. Plaintiff argues he has several letters and board meeting minutes ( i.e., exhibit 8 ) wherein
the licensing division repeatedly are telling him to go to rehabilitation When they knew or
should have known they had no evidence of substance abuse or dependence, and the
Plaintiffs record of a marijuana possession 4 1/2 years prior did n_ot disqualify him for
registration or licensing. Add to that, the cannabis conviction MCL 333. 7403 (d) h_elps
( i.e., by being ‘regarded as ’) qualify the Applicant as an American with a Disability
( i.e., he was /is protected whether he has an impairment or not ) and having a bachelors
degree in social work since 1991, at that time, and in applying for licensing initially in
December 1996 and being denied 9x’s , well that’s DISCRIMINATION .

The American with Disabilities Act of 1990 under Title ll , the ADA is a federal law that
prohibits discrimination against qualified individuals based on their past record.
The Plaintiff alleges he was M qualified because he only was Seeking a Social Work

Technician ~ SWT registration/license MCL 339. 1604 while holding a bachelors in social

work for the Registered/Licensed Bachelor Social Work - RBSW/LBSW , MCL 339. 1605

 

 

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9.

10.

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with all this being known and now said the Defendants are directly liable for a lawsuit for
actual or compensatory damages for any injuries suffered, including compensation for
Claim Count (2) any emotional distress caused by the DISCRIMINATION , punitive
damage or triple damages, restitution, retribution and any Other relief and or reward for the
past 16 years. Pursuant to Title II-2. 6000 (2) & (3) ; Title II-2.1000 (2) & (3) ; Title II-
2.2000 (1-3) ; Title II-2.3000 (3) & (4) ; Title II-2.5000 (2) ; Title II-2.8000 (1) ,'

Title II-3.5200 ; Title II-3. 7200 ; Plaintiffs Exhibits 8 , 11 & 14 ; MCL 339.916 (2) .

Plaintiff pleads the Federal District Court finds for the Applicant an will grant an award

for Civil Penalties of not less than 3 times the compensatory damages to substantiate relief
and or adequate recovery from the ‘ongoing’ injury, loss and suffering caused by the
Defendants over the past sixteen years for erroneously being ‘Regarded As’ , Pursuant to
T he American with Disabilities Act of1990 under Title II ; Title II-2.1000 (2) & (3) ;

Title II-2.5000 (1) & (2) ; Title II-2.6000 (2) & (3) ; Title II-2.3000 (3) & (4) .

At the Hearing held March 22“d, 2011 , at Docket Nos. 2011-238 & 2011-239
Ms. Ann Ward-Fuchs.' pg. 74, line 22, Good afternoon, Mr. Walters

Mr. Walters.' pg. 74, line 23, Good afternoon Ms. Ward-Fuchs, Ms. Ann .

Ms. Ward-Fuchs.' pg. 74, line 24, Okay, Are you currently working ?

Mr. Walters.' pg. 74, line 25, No.

Ms. Ward-Fuchs: pg. 75, line ] , 0kay, And how do you support yourself ?

Mr. Walters.' pg. 75, lines 2-3, I am currently receiving Social Security Disability due to

 

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l stage 4 colon cancer that was diagnosed in 2004 .

l Ms. Ward-Fuchs: pg. 75, line 4, Okay, And what’s the status of that cancer ?

Mr. Walters.' pg. 75, lines 5-6, T he cancer is now in remission, it’s been in remission for

six years.

i Ms. Ward-Fuchs.' pg. 75, line 7, Okay.
Title ll protects individuals who have a record of a physical impairment, and those who are
erroneously ‘regarded as’ having such an impairment, whether they have the impairment or
not. The Defendants having reviewed the administrative record at a regularly scheduled
meeting according to their statements in both the 2011 FINAL DENIALS, the officially
signed documents and accepted the Proposal For Decision denying the Plaintiffs 2009
Applications based solely on the one and the same misdemeanor ‘controlled substance’
marijuana possession conviction in the original FINAL DENIAL on the 1996 - 97
Application, an that the Plaintiff did not submit any proof of rehabilitation With. * A person
who casually used drugs illegally in the past but did pgl become addicted is m)_t an individual
with a disability based on the past drug use. * At best, the Plaintiff is and was erroneously
diagnosed by being regarded as a current user of a illegal drug.
Secondly, since that time, he has completed 3 years of Court-Ordered supervised drug
treatment and monitoring and two other rehabilitation programs and has n_ot used drugs
illegally for some years, which is also covered by the ADA.

Additionally, it is undisputed the Applicant has a history of Cancer, so either way the

l
Plaintiff is what his record says he is an that’s a qualified individual with past and present

 

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disabilities Ain’t nothing changed except the color of his hair. The Defendants still haven’t

gotten any proof of current illegal use of drugs in 16 of the last 21 years. Numbers don’t lie ,
people tell lies all the time. Pursuant to Title II-2.1000 (2) & (3) ,' Title II-2.2000 (1-3) ;
Title II-2.3000 (3) & (4) ; Title II-2.5000 (1) & (2) ; Title II-2.8000 (1) ; Plaintiffs Exhibits

7, 8 specifically page four , 11 ; State’s Exhibit H ; State’s Exhibit K .

THE END

“PRAYER FOR RELIEF”

WHEREFORE Plaintiff is asking this Honorable Federal District Court for

substantial money damages in the amount of Five Million Dollars ( i.e., $5,000,000.00 )
from the Co-Defendants joint several civil liability and the Plaintiff/Applicant/Complainant
hopes the Court finds for the same damages or greater.

VERIFYING STA TEMENT

1 declare under pen ty of perjury that the allegations in the Complaint are true.

  
   

Plaintiff-Applicant Desmond G. Walters

Dated: §'5 ’£0/3

 

 

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PROOF ()F SERVICE

l hereby state, to the best of my knowledge, information and belief, that a copy of the
foregoing Summons and Complaint with exhibits/attachments was served upon all Parties and
and or Attomeys of record in this matter by United States Postal Services by mailing same via

certified mail return receipt requested, at their respective addresses on day of
May 201 3 .

 

 

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PLAINTIFFS

EXHIBITS

 

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mmoeoioa/osi Michigan Department of Community Health ' ' Page 1 °f 2
Board of Social Workers
- P.O. ch 30670
Lansing, Mi 48909
(517) 335~0918

`_, wm.mi`chlgen.govlheaimlicense

CERT|F|CAT|ON OF SOClAL WORK EDUCAT¥ON

Aumority. Public Act 368 of 1978, as amended
if this form is not completed s license will not be issued

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' L'_| Associaio degree in Social Work granted on

 

(Mu'ith)Doy/Yea')

El Thls degree dictuded el least 18 semester or 27 quarter hours of social work courses
L'] This degree included a field placement or intemship of 350 hours ofexperience under the supervision ofa
licensed bachelors or masters Social Worker.

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13 Thls course work included at least 4 courses relevant to human service needs.

 

 

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Case 2:13-cv-11989-BAF-l\/1AR ECF No. 1 filed 05/03/13 PagelD.zl Page 21 of 95
` Illinois'DepartmeuT of Financial and Professional Regulation

Division of Professional Regulation

mem 'r. nom

PAT QUINN .
Gmmnmr 1 Ammg&mmmv
DANIEL E. summer
Diroc¢or
Division of Pro£usional Reguhsion

CERTIFICATICN OF LICENSURE

DESMOND G‘WALTERS
1301 W STEWART AVE
FLINT, MI 48504

Licensee: DESMQND G WALTERS

`i.i`cen'sé Nimiber`=' " ‘ 17'8.002216 ` '“
Profession: LICENSED FROFESSIONAL COUNSELOR

Date of Issuance: 04/08/2002

Expiration Date= 03/31/2011

License Status: ACTIVE

License Method; LIC BY EXAM

Disciplinary History: Has not been disciplined

This document is a certified copy of the records maintained and kept by this
Department in the regular course of business as of today's date.

  

A ril 28, 2009

 

~. Bluthardt

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"'.;.:Z?~‘£SS{UAL?§'“¢\"` , Director
l \ n ~ . . n
mm”m` Divlsion of Professional Regulation

Refer to the Department’s Web Site at www.i§£§r.ccm to verify professional
licenses via License Look-qp.

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Please contact the D£uision ome/essionol Regulation, Licensum Maintenance Unit, at 217-782-0458 if you have any questions Z`]g

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CaSe 2213-CV-11989-BAF-|\/|AR ECF NO. 1 filed 05/03/13 Page|D.ZZ Page 22 Of 95

LlCEN
PROFESS!ONAL COUNSELOR

` oesmouo GWALTERS
1301 wsTEWAR‘r AvE
Fum‘, m 48504

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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s;{“§j / DEPARTMENT oF LicENsmc AND REcuLAToRY AFFA|Rs
;&§~§` / suREAu oF HEALTH PRoFEssioNs

\\/ ` BOARD OF SOClAL WCRK

ln the Matter of the

Application for Licensure of _
File Number: 68-09-114009

DESMOND GlRARD WALTERS 4 '" Docket Number: 201 1-239

F|NAL ORDER DENYlNG LiCENSURE

On or about March 3, 2009, Desmond Girard Watters, hereafter Petitioner,
filed with the Michigan Board of Social Work, hereafter Board, an application for a

bachelor’s social work license

On October 15, 2009, the Department of Licensing and Regulatory Afiairs,
Bureau of Health Professions, hereafter Department, filed a Notice of intent to Deny
Agp_lication for Licensure, charging Petitioner with having violated sections 16221(a),
16221(b)(vi), 16221(b)(xi), and 16221(|) of the Public Health Code, 1978 PA 368, as

amended; MCL 333.1101 et seg.

An administrative hearing was held in the matter before an administrative
law judge, who, on August 26, 2011, issued a Progosal for Decision setting forth

recommended findings of fact and conclusions of law.

The Board, having reviewed the administrative record, considered the

within matter ata regulariy scheduled meeting held in Lansing, Michigan, on November /\
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22, 2011, and accepted the administrative law judge‘s findings of fact and conclusions

of law contained in the Progosal for Decision. Now therefore

lT lS HEREBY "`URDERED that Petitioner's application for licensure is
DENlED.

l'l' lS FURTHER ORDERED that this Order shall be effective on the date

signed by the Board’s Chairperson or authorized representative as set forth beiow.

Dated: /}/l§/bwl/

MlCHiGAN BOARD OF SOClAL WORK

By Q<>JQMQM"/

Rae Ramsde|l, Director
Bureau of Health Professions

This is the last and final page of a inal er D n i Li nsure in the matter of Desmond Girard
Walters, File Number 68-09-114009, Docket Number 2011-239, before the Michigan Board of Social
Work, consisting of two pages, this page included

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§ STATE OF MlCHIGAN
/ DEPARTMENT OF LICENSlNG AND REGULATORY AFFA|RS
BUREAU OF HEALTH'PROFESS|ONS

BOARD OF COUNSEL|NG

 

ln the Matter of'the
Application for Licensure of
File Number: 64-09-112286

DESMCND GlRARD WALTERS ' Docket Number: 2011-238

 

F|NAL ORDER DENY|NG LlCENSURE

On or about March 3, 2009, Desmond Girard Walters, hereafter Petitioner,
filed with the Michigan Board of Counseling, hereafter Board, an application for

licensure as a licensed professional counselor

On July 14, 2009, the Department of Licensing and Regulatory Afiairs,
Bureau of Health Professions, hereafter Department, filed a N_o_ti_c_e__gf_l_nt@t__tg_ge_iy
Apglication for Licensure, charging Petitioner with having violated sections 16221(a),
16221(b)(vi), 16221(b)(xi), and 16221(|) of the Public Health Code, 1978 PA 368, as
amended; MCL 333.1101 et_§eg.

An administrative hearing was held in the matter before an administrative

law judge, who, on August 26, 2011, issued a Pro@sal for Decision setting forth

recommended findings of fact and conclusions of law.

 

 

CaSe 2213-CV-11989-BAF-|\/|AR ECF NO. 1 filed O5/03/13 Page|D.ZG Page 26 Of 95

On or about September 9, 2011, Petitioner filed Petitioner’s Prop_osed

Excegtions to the Proggsal for Decision.

The Board, having reviewed the administrative record, considered the
within matter at a regulariy scheduled meeting held in Lansing, Michigan, on December
2, 2011, andiaccepted the administrative law judge’s findings of fact and conclusions of

law contained in the Progosal for Decision. Now therefore

iT iS HEREBY ORDERED that Petitioner‘s application for licensure is
DENiED.

l‘i` lS FURTHER ORDERED that this Order shall be effective on the date

signed by the Board’s Chairperson or authorized representative as set forth below.

Dated: /Sl'//b’/Q'C//v

MlCHlGAN BOARD OF COUNSEL|NG

By %u/YQC»WM

Rae Ramsc'lell, Director
Bureau of Health Professions

This is the last and final page of a Flnal Order Den in icensure in the matter of Desmond Girard

 

Walters, File Number 64-09-112286, Docket Number 2011-238, before the Michigan Board of
Counseling, consisting of two pages, this page included
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’ ` ~ John Engler. Govemor v v
_ ' Board of Examfnem of Mm
Department of Consumer & industry Services m Mma
Teiephone:517-241-9245

 

Kathwen.M. Wilbur, Direcnor _
" TDD: 1.800-649-317?

 

July 3, 1997

Desmond G. Walters
1301 W. Stewart Avenue
Flint, MI 48504-2279

Dear Mr. Walters:

On Aer 17, 1997, you wrote to our office asking that the Denial ofyoin' application for
registration as a social worker be deferred until the Board’s Jqu 22 meeting to allow you to
submit information concerning why you.`should be granted registration To date, however, you

have not submitted anydzing conoemir/z_g£nyour appeal Ploase be advised that unless you subnn’t

information relative to youri ;~, §' § "'§§”§§ '§éfand ability to servo thc public in a fair, honest and open

manner by July 14, 199'/, ymo"°op" "pii"ooo"' ‘o"‘o win bo considered non ood void and your oppxiooooo
fee forfeited

 

Your cooperation is greatly appreciated ’

Sinoerely,

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CaSe 2213-CV-11989;BAE-MAR ECF NO. 1 filed 95/03/13 Page|D.SO Page 30 Of 95

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Boa’rd`M`mutes ~ July 32. 1997
Page 6
Department’s denial; Mr. Lyberg secooded the motion; the motion passed __

Mr. Gust moved to uphold the
d that the Department concurred with the Board’s decision

unanimously Ms. Keene state

QMQ

A Desmond G. Walters . v _
d that Mr. Walters was denied registration as a social work technrcxan for lack

Ms. Keene informed the Boar . . _
of good moral clia'racter. M_r. Walters was convicted of possession of a controlled substance sol\cttto_ga_
prostitute and misuse of animals Mr Walters submitted a letter explaining his position on each convictiou, _

but~did not submit any proof of his

.i

 

Ms. Prui_tt seconded the motion; the motion passed

- Mr. Gust moved to uphold the Department’s denia`l;
e Board’s decision

unanimously Ms. Keene stated that the Department concurred with th

QL_D_B_HSIN.ESS

A. Rachel Green ' 1
Ms. Greert’s application was deferred from the May meeting, pending receipt of a copy ofher Discharge

&om Probation. To date nothing has been received 'Action will be deferred until the next board meeting
(September 16. 1997) to provide Ms, Green more time to collect the needed documents

M£EB§

Mr. Gust moved and Mr. Cronstrom seconded a motion to reeleet Linda_ Cunningh

am as chairperson and
Lisa Pruirt as vice chairperson. The motion passed by acclimation. 1

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Both Ms. Keene and Ms. Pruitt reported on.ioformatio
states regarding how examinations are adndnis-tered in

n they had received from social work boards in other
their states. Ms. Pruitt will do further research

 
  
 
 
 
 

regarding what the responsibilities of the board arc and what the responsiollities of a contractual exam

administrator are. \)\
t

Mr. Lyberg moved and Ms. Pruitt seconded a motion to request the Department to pursue l '. ` v %

requiring an examination for social worker and certified social worker registration The m
thh Mr. Gust voting "no”. 'l`he board members agreed that the "besic" exam should be used : soc '
worker regxstratxon and the “advanced" exam for certified social worker registration No chan ~ < .

recommended for social work technician registration

er 6,

Ms, Keene will address the students in the Social Work Prograrn at lVayne State University on No_ve

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Case 2:13-CV-11989-BAF-|\/|AR ECF NO. 1 filed 05/03/13 Page||;). 31_ Page 31 Of 95
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"'I'heDeparfmentconcurzedwitlrtheBoard’sdecision.

   

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December 27, 1996
‘ Page 1

To: State of Michigan - SWK
Department of Commerce
Bureau of occupational & Professional Regulatlon

Commercial Licensing Division

"l-. .

Re: Conviction History

Greetings,l Desmond G. Walters take up my pen to respond
to a request for information concerning convictions for which

I was charged and the dispositions.

First,I would like to say that I have been arrested well over
a dozen times to date for crimes I didn,t commit ,of course
(smile). I feel as though I was a victim of my environment.

' Secondly,the three convictions for which I was charged they
all were misdemeanors,not to discount them or anything I still
feel terrible for what I did and today I can gladly say that
that lifestyle is behind me now. "

I was convicted the first time-at age 17§ or 18 for VSoliciting"
a female police officer for relations in Flint,Mi.,€?th District
Court the County of Genesee. The disposition was a court
appearance and a $100.00 fine.

The second offense was "Cruelty to Animals“ when I was 19 years
old I was caught fighting American Pit Bull Terriers,typically
a aggressive breed of dogs which I owned a kennel of and sold
for profits. The penalty was the lethal gasing of two of my
dogs which was involved,I only lost one dog because I refused
the courts ruling and I was then sentenced to a fine and six
months in jail,which my lawyer plea bargained down to 90 days
in jail,I did 45 days as a inmate trustee and was awarded day
for day and released with one year probation which I completéd

successfully.

l Lastly,I was convicted of "Possession of Marijuana" most
l recentlyin 1992 leaving Chicago on my way to Flint,just across
l the Michigan State Line I was pull-over for speeding in Benton
Harbor$t.Joseph,Berrien County,aath or 87th District Court I
had approximately 3 grams of weed or two $10.00 bags,one sealed
and one with some reefer rolled into joints or cigarettees
with some lose pot on a tray along with a six pack of heer.

 

 

 

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Page 2

The disposition was a $400.00 fine and I was released on a
own recognizance bond.

The above is the extent of my criminal past and future,hopefully.

~ .;

Desmond G. walters,M.A. (canaidate)
Social welfare Worker

 

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STATE OF MICHIGAN
DEFAR'I'MENT OF CONSUMER & INDUSTRY SERVICES
OFFICE OF C()MMERCLAL SERVICES

In The Mattet Of:

DESMOND G. WALTERS
1301 W. Stewart Avenue
Flint. MI 48504»2279

NO'I'!CE OF DENIAL OF AN APPI_:ICATION FOR

SOClAL WORK TECHNICIAN LICENSE

 

NOTICE is herewith given that the Department of Consumer &' Industry Services, Oildce of

Commercial Services, (hereafter 'Department"), pursuant to the Occupational Code, 1980 PA 299, as

amended, l\,¢ICL 339. 101 et seq., MSA 18.425(101) et seq. , (heteafter "Code"),_and the Former

Offenders Act, 1974 PA 381, as amended, MCL 338.41 et seq. has determined that the applicant is

unqualified for the license or registration requested for lack of good moral character within the

meaning of the Former Offendets Act. Accor-dingly, the APPLICATIQN FCR LICENSURE OR
.REGISTRAHON rs HEREBY DENiED. The basis for the denial is as fcuows: f
l. Certified copies of the Criminal Records (exhibit 1) for Case No. 80-1955

from the Sixty Eighth Judicial Circuit Court, Flint, Michigan, establish that

Applicant pled guilty co the offense of Solicit Prostinttion on or about August

 
 
 

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9, 1980. Applicant was sentenced to thirty (30) days in kill Pa¥ 518(),;00

(One Hundred Eighry Dollats) lines and cost.

Certit'ted copies of the Criminal Records (exhibic 2) for Case No. 81~9!43?\{ ,

!\l

from the sixty signal mcneal District c¢urt, Funt, Michigan, signing tiin `

Applicant pled guilty to the offense of Conspiracy to Commit Cruelty tci Dogs

Page l of 4

EXHlBl'l _ _

 

 

 

CaSe 2213-CV-11989-BAF-|\/|AR ECF NO. 1 filed O5/O3/13 Page|D.36 Page 36 Of 95

on or about july 27, 1981. Applicant was sentenced to twelve (12) months
probation ii
3. ' certified copies or me criminal Reeerds exhibit 3) for case No. 92~104234
from the Fifth Judleial District Court, St. loseph, Michigan establish that
Applicant pled guilty to the offense of Controlled Substance-Possession of
Marijuana on or about June l?.. 1992. Applicant was sentenced to pay 3245.00
(T wo Hundred Forty Five Dollars) lines/costs; or alternate twenty four (24)
days in jail. On or about October 22, 1996, Applicant pled guilty to lime Pay
Violation and was sentenced to pay $lO0.00 tineslcosts. or alternate ten (10) §§
days in jail.
certified copies er the criminal Reeords exhibit oer case No._ trees-343
from the Sixty Seventh l udicial District Court, Plint, Michigan establish that
Applicant pled guilty to the offense of No License In Possession on or about
November 9, 1995 . Applicant was sentenced to pay 5100.00 (One Hundred
Dollars) tine; 321.00 ('I'wenty One Dollars) costs; S9.00 (Nine Dollars)
judgement fee, or serve five (5) days in jail.
5 . On M__arch 24, 1997, the State of Michigan, Department of Consum_er &
Industry Services denied application for a Social Wotker Registrati°n (exhibi; eQS'¥ ' %l%
5.) On July 15 1997, Applicant submitted an appeal for petition to review th \\ , . l
denial for Social Worker Registration. The Board upheld the denial ial
The instant denial of a license or registration for lack of good moral character shall not operate v

as a barco denial of said application for other reasons if it should be subsequently determined that the ’

applicant is otherwise unqualified THE APPLICANT IS HEREBY NO'I'IHED that in the event the

PageZ of 4

EXHlBll __,,,/~? yage_v r;jj;_ore'?_~\;-

 

 

CaSe 2213-CV-11989-BAF-|\/|AR ECF NO. 1 filed 05/03/13 Page|D.S? Page 37 Of 95

Depai'tment determines that the applicant is unqualified for reasons other than lack of good moral
character. the applicant will bevnotil'xed by way of separate and different "NO'l'lCE OF DENIAL."
YOU ARE HEREBY NO'l`lFlED that in the event you have relevant evidence of qualification
not previously considered by the Department, you may, within thirty (30) days of the date of mailing
of this "NOTICE OF DENIAL," pursuant to Secdons 515 and 516 of the Code file a written petition
d with the Department and the Board of Exarniners of Social Workers setting forth those reasons why the
Social Work Technician License should be issued. Said petition may rebut the evidence set forth in
paragraph(s) 1, 2, 3, 4 and 5 above by showing that at the current time the applicant has the ability to,
and is likely to, serve the public in a fair, honest. and open manner. that the applicant has been
rehabilitated, or that the substance(s) of the fortner offense(s) is/are not reasonably related to the
..._...___._-- .
practice of a Social Work Technician. Said petition may be accompanied by a b_rieij summary of the

incident(s) which led to the conviction(s) and the factors surrounding the incident(s); business/personal

references; a report from the applicants rehabilitation specialist. if any, indicating the possibility of

 

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similar future incidents; a current report from the applicant’s parole/probation officer, if pertinent;
etc.
IF SUCH A PETI’I`IGN IS TIMELY FILED, the Departrnent and the Board of Examiners of
Social Workers will reconsider the application in view of the reasons set forth in the petition
THERE WII..L BE NO ADMINISTRATIVE HEARING HELD IN THE CONDUCT OF
THIS REVIEW AND, THEREPGRE, I'I` IS IMPORTANT THAT THE PETIT!ON CQMPLETELY
DETAIL THE R.EASONS WHY THE APPLICANT SHOULD BE GRANTED A SOClAL WORKER

TECHNICIAN LICENSE.
UPON COMPLETION OF THE REVIEW, THE APPLICANT SHALL BE NGTIFIED OF /°\
THE DECISIGN IN WRlTlNG. n ' %
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Page 3 of 4 %

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CaSe 2213-CV-11989-BAF-|\/|AR ECF NO. 1 filed O5/03/13 Page|D.SS Page 38 Of 95

THE AP?LICANT IS FURTHER NOT!FIED that this NOTICE OF DENIAL is considered
FINAL as of the DATE OF MAILING unless a petition for review is received within thirty (30) days

from the DATE OF MAILING.

MICHIGAN DEPARTMENT OF CONSUMER &
INDUSTRY SERVICES
Kathleen M. Wllbur, Director

By: ' \
Jani H. Mon(gome?'y, Director

Enforcernent Division
Oflice of Comrnercial Services

"*5-~ .

DATED: /Oll.°l!€¥ `

Wtitten Petition to the Board Should be Addressed To: _ ~
Departtnent of Consumer & Industry Services

Board of Examiners of Social Workers

P.O. Box 30018

Lansing, Michigan 48909

Page 4 of 4

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la `K\ §§ DCN: 5500000072781590
the ank ' big § Process Date: 01/20/2012
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Chantilly, VA 20153-0832

hltp'J/www.npdb-hlpdb.hrsa.gov \://

SENS|T|VE lNFORMATlON ENCLOSED

 

 

 

 

To: wAL'tBRs. Dissitotto GIRARD
1301 west s'rt‘.wan'r AVBNUE

FLIN’I, MI 48504-2279

From: The National Practitioner Data Bank and The Healthcare integrity and Protectlon Data Bank
Re: Notification of a Fleport in the Data Bank(s)

 

This notice is to inform you that the enclosed report of an action taken against you was recently submitted to the National
Practitioner Data Bank (NPDB) and the Healthcare integrity and Protection Data Bank (HlPDB).

What are the NPDB and the HlPDB? The NPDB and the HlPDB are two separate Data banks operated by the U.S.
Department of Health and Human Services.

The NPDB. Title lV of Public Law 99-660, the Health Care Cluality improvement Act of 1986, as amended, established the
NPBB¢~~»Tille lV mandates that information`on certain adverse llcensure, clinical privileges, and professional society . .__
membership actions taken against physicians and dentists and information on medical malpractice payments made for the
benefit of a health care practitioner be reported to the NPDB. information on exclusions from the Medicare/Medlcaid

programs is also reported to the NPDB under separate authority. Hospltals and other health care entities, and state

practitioner licensing boards are authorized to query the NPDB under Title lV.

Section 1921 of the Social Security Ac't, as amended by the Omnibus Budgel Reconclliation act of 1990, expanded the
NPDB to include new types of adverse actions and allowed new entities access to Section 1921 information Seclion 1921
mandates that information on adverse licensure actions and negative actions or findings that a State licensing authority, peer
review organization or private accreditation organization has concluded against a health care practitioner or entity be
reported to the NPDB. l-lospltals and other health care enlities, State practitioner and entity licensing agencies, Federal and
State government health care programs, law enforcement agencies and quality improvement organizations under contract
with the Medicare program are authorized to query the NPDB under Section 1921.

The HlPDB. Section 1128E of the Social Security Act as added by Section 221(a) of the Health insurance Portablllty and
Accounlability Act cl 1996, established the HlPDB. Sectlon 1128E mandates that information on certain final adverse v
actions (e.g., licensure, civil judgment and criminal convictions related to health care, exclusions from Federal or State health
care programs and certain other adjudicated actions and declslons) taken against health care practitioners providers and
§ugt|)g|lBers be reported to the HlPDB. Federal and State government agencies and health plans are authorized to query the

Confidentiality.

All information in the NPDB and the HlPDB is considered confidential and is disclosed only to legally authorized queriers for
specified uses. Dlsclosure or use of confidential information for other purposes is a violation of Federal law. Health care
practitioners providers_and suppliers may query the Data Banks about themselves (selfouew) and may share their lt-
query results with anyone they choose. lnformation in the Data Banks is l\lOT available to the public. , \
ij \l\’

What does the report mean to you?

 

 

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Process Date: 01/20/2012
P.O. Box10832

Page: 2 of 2
Chantiily, VA 20153-0832

    
   
      

WALTERS, DESMOND GIRARD

    
   
  

htip://www.npdb-hipdb.hrsa.gov

   

Type otAdverse Action: stats LICENSURE »
BasisrorAcu°n; FAILuRE 'co user res norm endorsements op A r.tccnsa

(Al)
Name of Agency or Program
That Took the Adverse Action
Specmed in This Repon; sTA‘ri~:. orr MICHIGAN/BuREAU orr HEALTH PRoF .

Adverse Action
Ciassincation Code(e); DENIAL oF License nsnswm. (1148)

Date Action Was Taken: 12/15/2011

Date Action Became Effective: 12/15/2011

Length olAction: INDEFINITE»

7 TotalAmount ofMone_tary Penaity,
l ' ~é " * Assessment'and/or Restitutiori: ~ ` »` ~`
is Subject Autornaticaiiy Reinstated Atter ' = 7~ " ' '~ ~
‘ ~ ~' Adverse Action Period is Compieted?: ~'NQ~- ~ '

Descrlption ot Subiect‘s Act(s) orOmission(s) or Other' ‘

Reasons for Action(s) Takeri and Des_cription of Action($) Taken
by RepOrfing Entity; Mr. walter' s application for license of a licensed

master' s social worker in the state of Michigan was
denied.

m Subject identified in Section B has appealed the reported adverse action.

 

 

lt the subject identified in Section B of this report has submitted a statement, it appears in this section.

 

Uniess a box below is checked, the subject of this report identified in Section B has not contested this report.

i:] ii box is checked this report has been disputed by the subject identified in section e.

 

,_ [:\ if box' is checked at the request ot the subject identified` in Section B this report is being reviewed by the
Secretary of the U S. Department of Health and l-luman Services to determine its accuracy and/or
whether it complies with reporting requirements No decision has been reached

if box is checked at the request ot the subject identified in Section B this report was reviewed by
the Secretary ot the U. S. Department of Health and i-luman Services, The Secretary’ s decision
is shown below: , . .

Date of Original Submission: 01/ 20/2012 _
Date of Most Recent Change: 01/ 2 0 / 20 12
END OF REPORT

 

 

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Process Date: 01/20/2012
Page: 1 of 2

WALTERS, DESMOND GIRARD

 

 

 

 

http'J/www.npdb-hipdb.hrsa.gov
ADVERSE ACT|ON REPORT 4
STATE LlCENSl.lRE ACTlON '
Report Number: 5500000072781590
This report is maintained under the provisions of:
'niie iv (NPDB) '

 

 

 

The information contained in this report is maintai
Section 1921 of the Social Security Act, and 45 CFR Part 60. This report ais
Bank, for restricted use under the provisions of Section 1128E of the Sodal

 

 

 

 

 

 

violation of Federai law. For additional information or clarification, contact the reporting entity identifiedin Section A._:

X Section 1921 (NPDB) , X Section 1128E (HlPDB)

ned by the Nationai Practitioner Data Bank for restricted use under the provisions of
o is maintained in the Healthcare integrity and Protectton Data
Security Act, and 45 CFR Part 61; Ali information is confidential

and may be used only for the purpose for which it was disclosed Disciosure or use of confidential;inforrnation for other purposes is a

 

 

 

E|"l‘li`ly Name: S'IATE OE` MI"CHIGAN/BUREAU` OE HEALTH PRQF'. » ' ` »`

Address: 611 w. oT‘rAiiA', "'P;o_l 'Box" 306-70 "
_ City,State,Zip: LAN`sINc,’ iii 48909` `
Countryi
Name of Oftice: HEALIH REGULATORY DIvIsIoN/PAMELA MILLBE
Title orDepartment: BUREAU oF HEAL'rH PRoFEssIoNs
Teiephone: (517) 373-4972

Entity lntemal Fleport Reference:

 

s Federai Empioyer identification Numbers (FElN):_ . ` '
" ~` " sociaisecuriiyr\iumbers(ssw): ‘***_**~'*4'**‘

Type of Fieport: INITIAL

Subject Name: wALIERS, DESMGND GIRARD
Other Name(s) Used:
Gender: MALE
Date of Birth: **/**/****
Organization Name:
Work Address:
City, State, ZiP:
Organization Type:
Home Address: 1301 west s'rEwARI AVENUB\
City, State,, ZiP: ,FLINT, m 48504-2279
Deceased: No

individual Taxpayer identification Numbers (lTiN):
National Provider identifiers (NP|): 7
ProfessionalSchool(s) &Year(s) of Graduation: DEPAUL UNIVERSITY (1997) `
Occupation/Field ofLicensure(Code): -socIAL woRKER (300)
State License Number,State of Licensure: No LxcENsE, MI
Drug Enforcement Administration (DEA) Numbers:
Unique Physician identification Numbers (UPlN):

Name(s) of Health Care Entity (Entities) With Which Subiect is
Affiiiated or Associated (lnclusion Does Not imply Complicity iri

the Reported Action.):
Business Address of Affiliate:
City, State, ZiP:

Nature of Flelationship(s):

 

 

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v Gnginalcomplaint 'V an Complaint mpy~?rcsec:i

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

AMMW**SG“J szsoe4oezoc¢e 463 Ww“m °“" sm;-a *‘°”Vwm°“”‘°““”m`
STATE OF M!CH-lGAN» ~ ~ . . v CASE§|)O
STH .iuorci.iu.. oisrnic'r _ M?°Mpl'-A'NT » _ CIQ~)Q‘O 9'¢°‘/5*~
» . sometime , 925@34@9
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_ e 38 9 v 7554 s Locnrs BLvo gmwgmmwmwg
m cnIcAGo, IL eoezo JEFF boone
Co-dstendant(s) vi ' Dato: On or about mi ill `-"¢
Giry{mmeagel “ VTF County in M'idtigan Deleridant CTN ~ Defendant SlD Defendant 001
LAKE TwP _ BERRIEH 11 92- -2ooose- -01 ~ 12/14/
For¢bagmympmnaw charge cr 1) coin suas- Poss uranium memo iA)
nsps? 92~1217 .
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Tpr Ioe Zangaro Drug Lab Rep
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The complaining .witness says that on the date and at the location descn'bed, the defendant oontiary to law,

did knowingly and intentionally possess the controlled substance MARIJUANA;
`Contrary to Sec. 333.74@3(2)ldl; MSA 14.15 (7403)(2)(d). {333.74@Q§D]

 

 

 

 

 

 

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_‘ Z'. t . . seldin ' _;
' By h C-L‘:£T&I `»"‘c:‘)“ t ;
. ' j ',‘ m w l
' The complaining witness asks that defendant be apprehended and dealt with accordinth iaw.
(Peace Oflicers oniy) l declare that the statements above are true t_o e be ofm 'formatiori, Mkno_wiedge, and beiief.

 

 

 

' Compiaining climbingan '
Subscn°bed and sworn to before me on JM-_

MMM °“

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Case 2213-CV-11989-BAF-|\/|AR ECF NO. 1 filed 05/03/13 PéQe|D.43 Pagé'AB OT 95"""""'

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119 Nom'H emma TnAvERsE - FuNT, Mz 48503 ~ (aw) 238»2068
Apza 1. 1996

 

Complain from Fred Walker

 

 

CaSe 2213-CV-11989-BAF-|\/|AR ECF NO. 1 filed 05/03/13 Page|D.44 Page 44 Of 95

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Community Recovery Servi¢es, Inc.

119 NoRTH GF¢AND mAvEnsE ~ FuNT, M\ 43506 » (810) 238-2068
*.~*'3 91 du

April 4, 1996

Desmond Walters
1301 W. Stewart Street
Flint. MI 48504 `

Subject: Termination of Employment

You are here by terminated from employment with Community
Recovery Services, Inc. for violation of Community Recovery
Services, Inc. Code of Ethics #12 which states “Any use Of
illegal/non-prescribed drugs is strictly prohibited".

Please arrange to meet with Karen Trosko, Finance Director
to discuss your benefits on termination.

Ulysses Brown, Site Supervisor will meet with you today to
arrange a separation schedule.

Christopher Flores
Executive Dire tor

 

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`*""' REC\UES ,)R INFQRMATSON RELA`HVE TO _PD: ..E s_° N,_ 063
7 i..t:l.l(i|l%l!g..ll ,‘ M.§§\SBHMCAHON ' ‘ *““°“‘“°*““
§ »// _ 406
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l M..|!..|ul.!:.|lm.rll..l.l..ll....l.lll.»m.l|l.l..|...ll - WALTEBS DEMND t
: comui~rii'v Recovequ seevs inc ' »
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»` ‘ 5402 ci.io RD.
Fi.iNT ` Mi 48504
y , Piione riot tamper-eeoa
EMPLoYEn Numeen: v 10723784 ooo FAX NO: (810)78749678

This unem yment claim has a potential qualiticetlon!etigiblll issue end is being invest ted to determine what
benefit en lement. it any. the claimant has Please' answer t specific question(s) lr.' _below whiolt are based
on the claimants and/ot employer statement Please submit all pertinent information ;r.~hrcti you believe would be
M§itpl in the proper disposition of the issue(s)` involved lt necessary, use an additional sheet of paper to submit
met ri‘i*r‘oi'z`r‘t&iit`.ii°i. `

You are r ired to complete tr_rls ,forn_rt within to _oay_s whether you feel g§yment¢sl on this claim shouid be allows
or denied l a reply is not received within to days. a determination will made on the basis of me evaiiabie facts
¥ou should retain a copy cl this form for your records “

PLEASE GlVE. IN COMPLETE AND SPEC|F¢C DETA|L. ALL REAS( 18 FOFI CLA|MANT"S
SEPARAT|ON FROM YGUR.EMPLOY. _ - ' '
PLEASE L|ST ALL_D|SC¥PL|NARY ACT|ON iNITlATED PR|OR T-O SEPARA`FIQN.

HOW WAS CLAlMANT DETERM¢NED TO BE.UNDE.R THE lNFLUENCE OF lNTOX|CANIS OR OTH!T
SUBSTANCES? Pleass refer to termination letter that has been received

by the claimant. Community Recovery Services is an outpatient Su’ostance
Abuse Treatment center and the claimant was a Substance A‘ouse Counselor.
The Urinalysis test was followed by specific procedures by Corning
Clinical Laboratories. Community Recovery Services followed all chain

of custody procedures and the Urinalysis samples was monitored by a

male administrator- The Claimarit voluntarily.dropea t!ze`u.riaaiyeta oample.
rra-mem 04 'o.», 110 v.. se ¢..,,.,¢mt., ,.i sTAMeEnsKY

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Any further questions, please feel free to con§a§tct§fvp§féce at

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Phoite: ¢Z/Q! -\'<;_z`;/-~ _.»,\’/F¢;t' §§ l , FAX.; l 5./03 ,.'.2 \:'> .*_\ .r ,~,*)55`

 

' lM?ORTANT:§_§You may" receivefa:separaie request for wage inlainiati"an§ , t
lMPDRTAN‘\'; Mall to the E‘r`é`iich Dllice cl lhe’Commission at the address entered at tht'z:'v - ul this lorm.

 

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`: .~.

April 1 1 ,1996

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~' _ To: Mr;Christopher Flores,Executive Director,

Ii__l___m;r;._uesmono_.s._£ali:ecs+ela.&sm__, hereby request my
employer, Community Recovery Services ,~ , to allow me to in-
spect and receive copies of any and all information in mg Personnel`
Record that I am entitled to receive under the Michigan Employee

Right to Know Act. l request that this opportunity be provided to

me no later than April 22nd,1996 .

d~

 

S . 3 . lt XXX-XX-XXXX

._ ATTENTIQN: » . _ . ~ .~‘ '
` 2 specifically request drug test results because `
under Michigan Law they are part of my file.

f . ' . l " :3‘ `;

stairs oF MICHIGAN) n

' )Ss
COUNT\Y OF GENESEE)

Subscribed and sworn to before me, a Notary Public, this 11th day of
April, 1996; . ~. _ t
j` : . .

    

Susa Lackey,-Notary Public

C
Genesee ,County, Michigan "' -. \`
My Commission Expires: 06/25/98 .

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Community Recovery Services, Inc.

119 NORTH GRAND TRAVERSE ¢ FLINT, M| 48503 0 (810) 238-2068

April 22, 1996

Desmond Walters
1301 W. Stewart Street
Flint, MI 48504

Please find enclosed copies of Urinalysis test and screen
results from your personnel file, along with copies of an
employee 90~Day evaluation. These copies were not included
in the personnel file you received on 4-4-96. These copies
were just recently filed in your personnel file.

If you have any ouestions, please feel free to call our
office.

Sincerely,

s %WMM

Karen L. Trosko
Finance Director

»\\"’
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"A DELEGATEIAFF|LMTED AGENCY OF THE GENESEE OOUNTY COMM|SSION ON SUBSTANCE ABUSE SERV|CES.”

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NDN-FEDERRL DRUB TESTINB REB LTS

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RECEWED DATE

   

   

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ee`ei_sv

DICAL CENTER
HITE: 04/05/96

!HIEF COMP§§INT: NEED FOR DRUG SCR_EEN.

EISTGH QP PRESENT lLLNBSS: THE PATIBNT STATES HE WORKS< IN A LDCAL
‘ )RUG REH.A.B PROGRAM. ONE OF THE CLIENT’ S ACCUSED HI_M OF SMOKING
` £ARIJUANA. HE HAD A DRUG SCREEN AT HIS WORK AND IT CAME BACK MILDLY
'OSI'I'IVE FOR CANN`A.BIS. HE SAYS THAT HE.' HAS NOT BEEN SMOKING MARIJUANA
;ND HE WEN'I' A SAW A LAWYER AND COMES IN FOR. A DRUG SCREEN.

“AST MEDICAL HISTORY: HYPERTENSION. I"EDICATIONS: CATAPRES. NO KNOWN '
LLERGIES. `

MXAMI__MQ§: THIS IS A 34-YEAR-OLD BLP=.CK MALE WHO IS ALERT
N'D IN NO .Z‘~.PPARENT DISTRESS. VITP.L SIGNS: BLOOD PRESSURE 165/108,
EMPERATURE 9§_.§, PULSE llO. HB‘ IS VERY ANXIOUS A‘l" THIS TIME. RECI-.'_".:.CK
LOOD PRESSURE IS 156/97 WITH A PULSE OF 103 AFTER THE PATIBNT C.?-LLMS
DWN A LITTLE BIT. EXAMINATION .REVE.ALS PUPILS W"£RE EQUAL, ROUND AND
EACTIVE. LUNGS: CLEAR. HEART: REGULAR.

'__I.']_J_;CAL D§CI_S_;ON MING: 'I'I~E URINE DRUC- SCR.~’-EEN WAS DONE. IT WAS
§G-_-“-.’_-`IVE `£-"OR C.`~'i..NNABIS.
fPRESSION :

DRUG SC?»EEN.

HYPERTENS :GN .

 

S?QSITION: INFORMED PATIBN"" THE DRUG Sm W:'-.S NEGATTVF‘AND FZE IS
S_I::`OW WOR.K- .T.F ANY PROBLEM OR CONCERN HE IS WELCOM£ TO GE'I' THE
CG::'~DS FROM ME.'DICAL RECORDS. SEE HIS LAWF:.°'R AS NEEDED .

§raren BY; JJ:GS
o-/05/96 (14=41)
o-/os/s€ (2=06>

 

J. JOHNSON, DO

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".`/..Moz~m emma le Ms. no oa/§}?sm m mm"°' "

 

04/05/96ER-D1 0198973

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5 less smen.t and D£agnosis
The Initia.l Contact with Clients

".

c. GC/MS: The GC/MS, or gas chromatography/mass spectromedy test is_
a more sensitive and more expensive test ibm the EMIT. See Table 4 for a

comparison of the EMIT and GC/MS test.

 

Tel~>le 4: Comparison of EMIT and GC/MS Test l,l/U/VL€/
, Lim§ts ci" SensRI\/i"r§i _

Drug Approx. Da;:.r:;;;;;;;iectabmt _ EmH GCNS
Ampheiamine 48 hrs 300 rig/ml 150 ng,ml
Metl'iamphetamine 48 hrs 300 "Q/ml 150 ng”nl
Barbi!uraies

Phenioberbiial ' 24 hrs 500 ng/ml \ 150 nglml

secoverbnex . 24 hrs 300 nQ/m* ‘5° “9"“’

Amoberbs'.e's am ms 1 000 ng,'ml 150 nQ/mi

Burebari:iiel , aca-72 hrs soo ng/m' 150 "9'""

emanuel 48~72 hrs 1 soo rig/mi 1 50 “9"“1

Phenoberb'nal 7 days 1 000 ng!m! . 500 ng/ml
senzedi.=_zepznes 3 days 300 ng/ml 150 rig/ml
Cocaine 2»4 deys, 300 ng]m! 1 50 719/ml
Methedone 3 days 300 ng[ml ‘ 150 “Q"ml
Codeine 2~4 days 509 ng/ml y 159 ng"ml
Morphine 2~4 days soo ng/ms 150 ng'm*
Propoxyphene 648 hrs (GC/MS oniy) 390 ng'ml
Norpropoxyphene 6-48 hrs (GC/MS only) 300 ng/ml
Ca`nnebinoic"s occasional user 'i 08 ngaij 25 sg,€m§

(Carboxy & 3-1 0 days

Hydro>.y chronic user

Me‘laboliies) 1-2 months `
Meihequalone 7-'! 4 days (GC}MS only) 1 50 ng!ml \/\

Phencyclidine 7~14 days 75 hg!m! 25 n§]ml

This table indicates for example that cannebmoids (ma:ijne.na} cane g =‘}¥_\\
detected with ihs SC!MS u;}'\e:z were is as Bt"€lc as 25 lig/m3 lnafl°grams P€I ! \!\

Eillili°v€l') in the system of inc user- With the l-_.MIT. a person woula need to
have at least 109 rig/ml of the drug in his /her system for use to be detec'f€d

Counselors should be aware that clients can adulierate their urine specimens
in a number ofways Common adulterants include soap gum. sugar. and salt
When using drug screens in an inpatient setting therefore it is important 10
have clients wash their hands thoroughly including under the Bng€mai}$

 

   
  
 
  
  
      
   
 

1 scm ofMi¢higan
. 4 ' ~ ' ~ lil"I‘he Circuit Court for The County of Genesee

` _

AmNDM

§ , _ _ _ ... m

' ~ CLAIMOF APPEAL

§ ;,._.., Desmond G. walters,MA,LPc, cAc»l No. 97_59446 -AE (Revisea)

j ` 1501 W. seem Ave. zung Geofeey L.Neithercm
, nine Mchigan 43504-2279 v P_25466

‘ _" Pro Se

.._»».- clmsAppenant-Peciuoner _ B 1996_08123-RR2- w v

1 . ' j 187396W 01¢1#14134;W `

--.»- V.s. -

_`_A Comm`\mi'€Y R@°°VSrY Services, ln°‘
" m mm sagir;aw sss
`,-'~" 7 ~ Suito 323.`"

‘ ,,.;W. -.F]jmo Michigan¢!-S$OS-I'IO$

  

»/ ». Employer~ Appellant- Respondeni
_, & _

..-_.. w..~.~~..`x

1 swann

`~ xi - `~‘~ Unemploynsent"'lnsurance Agency, (f`!k/a Mchigan Employmeni Security Agency) . .
Michigan Depa_rtme_ni of Consumer & Industry Services- Board of Social Work

_ AppeHee-Resgond_ént __
~*j»-~~W~ -~»~»_~___ APPEILANT BRIEF

/.
o "";“:";"~`Issue(s'jmvolved In: v - \\
1. Use of lilegal Drugs- . 3/2_9/96 § \".

 

2. Under the Doctrine of Employgent At-Will

1. 13 me ce:n\/IANT DISQUALMED P<)R BENEFH‘S As PROVBJED FOR BY t jr
- . _. THE DRUG rEsTmG PROVLSION 01~‘ sEcTION 29, (1) (M) 0F THE MICIHGAN .
EmLoYL/ENT sEcURITY-Ac'r? ~ '

'“"` 2. A.LL El\/[PLOYM.EI\IT A'I`-WILL STATES RECOGNIZE CERTAN STATU`IORY
EXCEPTIONS TO THE DOCTRINB, WH£LE MANY ALSO RECOGNIZE ONE OR
MORE COMMON-LA`W EXCEPTIONS. WH[CH EMPLOY`M:ENT AT~WH,

EXCEPTIONS MICI'HGAN RECOGNIZE? ~ ~ v . y .
STA`!'E'S
EXH!_B|T

____Y____

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Page 3

__ _M

To Protect Your &'gh§§, Ygu Most Be On Time
A State of questions involved in the appeal transcript of testimony and proceedings

before Referee Mark J. Hodgson on August 13, 1996 at Flint, Michigan.

PROCEEDINGS

Re{eree ............ B 96~08123

 

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Page 4
The claiman’c is Desmond Wal’cers the involved employer is Communi’cy Recovery
Services, incorporated
The employer appealed a Commission redetermination which Found that the claimant
was not disqualih'ed as provided For by the drug provisions¢o{" section 29 (1) (M) of
fhc Michigan Employmen’c Security Ac'c.
This hearing is taken place in Flin’c, Michigan on August13,1996 before Re€eree Mark
Hodgson.
When the issue is one o{:disqulihcation such as the drug provisions ofthe Michigan
Employmcn’c Security Act, i'c is the employcr’s burden to go Forwarcl and show that
the offense occurred an iha’c ii in Fact is disqualifying For Jthe purpose For an
unemployment compensation claims.

Rel~'eree: Now |'ve been on vacation For two weeks l did no’c see this case before it was

scheduled okay? ( page 4)
ReFeree: Any questions before we begin, Mr. Reinhard’c? Cpage 6)

\)\
l've got a problem with Jchc File as i’c exists l\

regarding another screening l don"c know what you’re going 'co do with those l"iles.

Mr. Reinha rd’c: There is a Form in 'chere that has been submitted by Jchc claimant §

( page 7) ,qjd<
Re{eree: Well, fha’c’s For ’che claimant ........ For the claima nic to bring Fourth by his

agent ( page 7)

 

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Page 5

Mr. Reinhardt: There is no one here to testify to that (page 7_)

ReFeree: it is just in the Hle For now. C page 7)

ONOFM . HM|E BY F EE-

Q= Questions A= Answers

Q. Where do you world
A. Community Recovery Services. (page B)

Q. And, in what capacity<'
A. Clini`cal Director (page 8)

Q. What is the Facility license For?
A. Substance Abuse. Outpatient Substance Abuse Treatment and Prevention. ( page 8)

Q. Do you know Mr. Walters?
A. Yes. (page 8)

Q. How do you know him?
A. We employed him. Cpage 8)

Q. What was the last date he ever worked there?
A. 4/3/1996. cpage 9)

Q. And, what was his job there? ,
A. Substa nce Abuse Counselor. (page 9) \\
Q. Did he quit, was he laid-ol~'i", or discharged?

A. Discharged. ( page 9) '

Q. Was he told why he was being discharged?
A. Yes. (page 9)

Q. What was that reason?
A. it was For a drug tdc that was positive For marijuana a gas chromatography mass

 

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Page 6

test, which-- is a confirmatory test For drug screens. And, it quantih‘ed the amount of
THC metabolized in the urine, which was 27 nanograms per milliliter. (page 9)

G. Was Mr. Walters told he tested positive?
A. Yes. Cpage 10)

o. Was that the only test per€ormedz

A No, that was the test that we requested oFthe lab, Their policy ls that they don't
want to do that conhrmatory test unless you specihcally request it So, we had to
request that speciHcally in that way. ( page iO)

Q. Now, those tests
A. The nrst two were screens. The second one, or the last one was a confirmatory test.

C page ii )

o. on 100 na nogram what was the resale
A. Negative. C page 11)

Q. On 25 nanograms.l

A. Positive. And, on the last conh`rmatoiy test they actually quanti§/ the number,
which came back at 27 nanograms per milliliter. it's a much more sensitive test »~
sensitive in specin`c terms means that it rules out i'alse positive and false negatives
Cpage 119

G. Did you supervise Mr. Walters?
A. Mr. Brown supervised him directly, and i’m over Mr. Brown. (page 12)

O. Now, were these tests explained to Mr. Walters at the time he was discharged.?
A Honestly, No-- they were no. Cpage 12)

testing? q
A. The day it was taken. (page 14)
Q. And, that was the day oFdischarge? ,

A. No. CPage 14) \f\
O. Do you know why that sample was taken? Zl,/`\(

A. Why it was taken? Cpage 14)

Q. When were you first aware that a sample was taken From Mr. Walters For drug \\\)
\ /

 

 

 

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Page 7

Q. Yes.

A. Deh'nitely, because a client had approached Mr. Brown, Mr. Brown approached me,
i indicated that a drug test would be the best way to clear it up one way or the other.
C page 14)

Cl. Was there a allegation by the client-~~ on the client’s part?

A. The allegation oFthe client was that Mr. Walters was smoking marijuana while
attending strip bars with him, because, we recognized that we're dealing with
Substance Abuser’s, Criminal )ustice Population, it made the most sense to me in
order to clear Desmond’s name, to have him drop a urine. Cpage 14)

Q. And, Mr. Wa lters agreed to the test.l
Claimant: Yes, i did. (page 15)

ReFeree: Okay. Mr. Reinhardt.?
Mr. Reinhardt: just a couple questions (page 15)

_E_)SAM!NAT|O_N_ QF M§, §§HM¥§QE §Y MR. &§lUHABQT

G. Does the court then supervise your agency?

A. No, The State oFMichigan license us to do substance abuse treatment And, the
local substance abuse coordinating body oversees everything C page 15)

Q. is the attematives For your clients then some sort otincarceration? Are they
ordered there by the court, is that what you're saying?

A. Yes, they are there by court order. ( page 15)

O. Subsequently are tested positive is that reported back to the court2

A. it's not -- it's not reported in 100% oF the cases, i'll say that. it's left to the
therapist discretion to deal with the clients and their clinical responding, and to use
there judgment C page 16)

EXAMlNA-l'lON _OF MS. SCHM{EGE BY MS. )ACKSON
"\
Cl. Ms. Schmiege, is it part of your work papers that you reach Cloes it not'say that you /\
will test all your employees?
A. Well, it says that we test everybody at the time that they apply (page 16)

Q. Do you do that?
A. Yes. (page 16)

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Page 8

O. At that time, how did Mr. Waiters test out.?
A. He tested negative (page 16)

O. At the beginning.?
A. And, again that was a screening We screen applicants We don't do the
conh’rmatory test. (page 16)

G. So, do you Follow your rules.?
A. Yes. Cpage 16/17)

O. As the person whose name is on this, who is Fred Walker, l can say it, i didn't sign
anything it he broke a law would it be up to your company to talk to his probation
oFFicer, or his court it he did something wrongi7

A. l don't understand the question. Cpage18)

O. it you tound that Fred Walker had done -- when he smoked marijuana was it
reported back to the court3 He said he smoked it?
A. Um-hum. (page 18)

Q. Did you report it back to the courts!
Mr Reinhardt: Don't answer that.
Ms. Schmiege: l can't answer that.

Mi FMR. R W BYM. 0 '
O. Mr. Brown?
A. Yes. Cpage 25)
Q. Are you a counselor? /\qb
A. Yes, l am. Cpage 26 - \
Q. And, you have been counseling For quite a while?

A. Yes, l have. (page 26) M\

G. Are you able to tell when a person is working is under the influence of mafiiuana?
A. Can i tell it he's working under the inHuence.? it i check his eyes, maybe so. (page
26)

O. l Did you check Mr. Walters eyes.?

 

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Page 9

A. No, because he wasn't working under the influence when i asked him to take the
test. Cpage 26)

Q. Has Mr. Walters used marijuana to your knowledge?
A. l can only go by what the drug test say. (page 26)

Cl. l said to your knowledge.?
A. i do not know. Cpage 26)

Q. Your direct knowledge?
A. i can only go by what the drug test say. (page 26)

O. Well, i have a drug test here that says it is negative would you go by that one?
A. lt depends on how the test was taken. C page 26)

Q. Well, a test is a test.

O. Why did Mr. Walker decide to tell on himsel{ about smoking marijuana?
A. i can only tell you what the client told me as to why he filed a complaint (page
26/27)

Q. What was that!

A. Well, he €led a complaint because Desmond told his p.o. that -- that he had dirty
urine. And, that the client was supposed to be getting otto{probation. So, by telling
him about the dirty urine may have caused a problem with him getting otFoF
probation ( page 27)

EXAM!NAT!ON OF MR. FLORF_S BY THE REFEREE:

O. What's your Full name.?
A. Christopher)ohn Flores. (page 29)

Q. Mr. Flores, do you know Mr. Walters.?
A. Yes, l do. Cpage 29)

O. Did you discharge him.?
A. Yes, l did. ( page 29)

Q. Did you do that in person?

 

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Page 10

A. Yes, l did. (page 29)

O. What did you tell him.?

A. l told Mr. Walters that he was terminated From employment horn Community
Recovery Services tor violation ot our code otethics, and {or having tested positive For
THC/ Cannabis. (page 29)

G. What did he say when he was discharged.?
A. Mr. Walters, at least to me, indicated that he appreciated the opportunity that we
had given him For working there. And, that Was it. Cpage 29)

O. At any time did he oFFer an explanation For the test results?
A. l think later going out he indicated that he flat out denied usage. (page 307

O. Was he aware at the time he was separated from employment that three tests were
done on the same urine?

A. i’m not sure, l informed Mr. Walters that there was a complaint He was very well
aware of it. And, that we would be doing a test. And, the best way to deal with it is to
do a urinalysis test and to just eliminate this. He readily agreed to it, and i have a copy
of it here For your review, we requested a gas mass proHle. (page BO)

O. And, it the gas chromatography was negative would he still have been employed
there?
A. Yes, most dennitely. (page 52)

F E l T BY FEREE:

O. Did you previously work For Community Recovery Service?

A. That is correct, i worked as a volunteer. i asked il:l could earn 300 hours towards a

CAC, and he agreed that was okay, that l could work there on a volunteer basis. You

know, work with clien'o and stuff like that. So, that was two months prior. (page v
53/34) /'2{

Q. Starting in )une? ' \\ .
A. That's correct (page 34) \<\,
Cl. And, the last day you worked? , q)`

A. 4/4/1996, i was told i was terminated (page 347

 

 

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Page 11

Q. Was that in a meeting.?
A. Yes, it was. ( page 34)

Q. Did they show you the result oh the drug test?
A. No, they did not. (page 34)

O. What's a confirmatory drug test, sir?
A. l guess it's some new invention, some test -- gas mask -~ that's what l was told. l
have never heard ot it prior to that Thursday meeting Cpage 34/35)

oF NT Y M . rr

Q. You worked there eight months?
A. That’s correct -- 10 months Eight months with pay. (Page 40)

O. What sort ot training do you have, sir.?
A. i have a college degree (page 40)

Q. What's your college degree in?
A. Social Work, which is a related field -~ human services (page 40)

 

STATEMENT OF FACTS
1. (a) The Nature of The Action: Termination of employment of the employee-claimant- ,?
appellant \/
1. (b) The Character of Pleading and Procedures: Breach of contract wrongful ` \
discharge; intentional infliction of mental distress, slander and libel based on a parolee
violator’s accusations of smoking of marijuana and failure of employer to follow their

own problem resolution procedures “negligent promising”.

1. ( c ) The Suhstance of Proof: (1) . Drug testing results by the employers testing firm, ((j`
Controversy as whether the tests were negative or positive (2). Drug test results by

Huriey Hospital ER., of Claimants done within 24 hours after discharge that was negative

and Claimanr/employee was to show work, Controversy as to whether this test was in the

 

 

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Page 12

tile and therefore apart of the record for the hearing 8/13/96. (3). Claimant can without a
doubt demonstrate that a grossly palpable error was committed by the employing unit
which involves malice, perjury, and fraud as to the testing, according to The Association
for Advanced Training in the Behavioral Sciences, 5126 Ralston Street, Ventura, CA.
93003 (800) 472-1931, AODA Counselor Home Study Manuel, Volume l (one), I@Le__¢l_:
MCMMMM IQ_SL Limits
of Sensitivity for Cannabis/Marijuana sereens= 100 ng/ml and GC/MS= 20 ng/ml
according to the AA'I`BS © 1992, 2004 www.aatbs.com. _(4). Dispute by Claimants as to
whether I ever received a written copy of a Final Order 1/21/98 and/or Determination
(allegedly) 3/19/98 were served, signed for by U.S. Postal Services which would have
allow Claimant the right to be heard or a day in court according to The Constitution of
The United States of America. (5). Controversy as to Claimant rights 10 years later, if
there is no recourse, remedies and reparation available to him, what is the purpose of the
“Une Year Letter” issued 4/4/06 concerning a 4/9/96 beneiits claim with UIA (t?k/a
MESC), And a right to Appeul to Board of Review or Circuit Court on or before 9/25/06?
'l`o which Claimant is responding here-in. (6). Can it be “Vexatious Proceedings” merely
wishing to annoy or embarrass the Claimant?, More importantly, wasting of tax payers
dollars for unnecessary procedures (7). Five drug test results all in the tile showing
negative results, three done on one urine sample that was and is apart of the tile on record
4/9/ 1996 submitted by the Claimant and is apart of the hearing, testimony and record of
8/13/1996 made reference to and their location on the tape by All Parties and Referee
involved (8). A non “at-will” employment contract/agreement application, also a CRS,
Inc. employment obligation agreement signed by employee and executive director on
11/27/95 which is binding. (9). Proof of full-benefits-family, Life Insurance, Blue Cross/
Blue Shield of Michigan, Optical, Guardian Dental and Salary at that time. (10). Dispute
as to whether the Judge’s Order and UIA Determination was timely within the 30 days.
(11). Mrs. Kristie Schmeige was Claimants Clinical Supervisor for Social Work
Technician Registration until alledged drug use issue for 10 months when Claimant
prevails Claimant Wants Court to order the Board of Social Work to honor the Social
Work experience at CRS, Inc. and credit my required 24 months of experience ii'om this
body of work.

1. (d) mm or Importan¢ harman and Even¢s. ` g
April 1, 1996. Complaint of Fred Walker to Community Recovery Services lnc. Stating ),¥ \/
Appellant and he smoked marijuana ~ \
April 1, 1996. Urine test conducted on Appellant by the employer. '

April 4, 1996. Termination of employment by employer. tU`lN\

April 9, 1996. Appellant filed for \memployment benefits (p. 61 of record of proceeding

 

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mmcmcmrcommnmcobmol=cmnss£

 

DESMOND G. WALTERS`, MA,CAC 1, ` HON.
= ' Circuit ]ud.ge
Claimant~Appellant,
Case No. 97-59446-AE

V

COMMUNITY RECOVERY SERVICES, INC,
Employer-Appellee.

STIPULATION ADDING PARTY

 

nlslmxas¥mAmDANDAGmeetwema\eappelwmmam
Unemployment Agency, L_/licbigan Department of Consumer & Industry Services
f/k/a Michigan Employment &curity Agency, that the Unemploymgnt Agency,
Michigan Department of Consumer & Industry Services be added as a party

defendant and that the entitleth be amended to read as fonows:

‘~.w;i

DESMOND G. WALTERS, MA,CAC 1,
Claimant-Appellant,
V

COMZMUNITY RECOVER¥ SERVICE_S, INC,
d Employer-Appellee,
an
UNEMPLOYL/ZENT AGBNCY, MCL-IIGAN DEPT
OF CONSUMER & INDUS'I'RY SERVICES, (f/k/a
MICHIGAN EMPI.OYMENT SBCURII'Y AGENCY)
Appellee.

\

    

 

   

DesmondG. Walters, blACAC 1

§ Assistant Attorney General 1301 W Stew z
§ art Avenue 3'
Attorneys for UA MDCIS P}int' 48504-2279
\ 7310 Woo§ward Avenue MI ;\\
j _ Detroit, MI 48202
(313) 876-5556

 

 

  
  
  
 
 
 
 
 
 
   
  
 
 
 
 
  
  
 
  
   
 
  
 
  
   
 
     
    
 

l _ Case 2:13-cv-11989-BAF-|\/|AR ECF No. 1 filed 05/03/13_- Page|D.65 Page 65 of
ICHAT Conviction Record ` Page 1

 

Michigan.gov Home
Criminal Record Response

§ Data Searched on:
l

Last Name First Name Micldie Name ~ DOB Race SeX
Walters Desmond G w U ` M

Based on the information provided, the following is a certined result of the search as of 11130/2004
09:37:14 AM

~ DO NOT TAKE ADVERSE ACTi_ON
WlTHOUT FlRST REV|EWlNG THiS RECORD WITH THE PERSON FOR WHOM
THE SEARCH WAS lN|TiATED

A search on the name and `identii`iers provided has located the following criminal history record. The name
search process may result in a match of a record having only some of the same identifiers. A record is
provided if only the first and iast name, race, sex and year of birth match. The process will not exclude a
record when there are identifiers that do not match; such as social security number or birth month or birth
day. The information on this record was provided on arrest of the nngerprinted subject lt is common _
' practice for a person to use false identification when arrested The attached information must be reviewed
l with caution and with the person for whom the search was initiated

if the person denies that the crimina! record pertains to him!her, this can be verihed by fingerprints The
person should go to the nearest law enforcement agne`cy and request to b`e printed on a state appiicant

_ fingerprint card for empioyment/volunteer/licensing purposes This card` is to be mailed to the Criminal
Justice information Center with acopy of this record and a letter requesting the Criminal Justice
information Center to verify that the enclosed criminal record does not pertain to him!her.

§ MIGHIGAN CRIMINAL HISTORY RECORD INFORMATION MEETING DISSEMINATION CRITERIA

FoR sID: 1116053E As oF 11»30~2004.
. 1
NAM; wALTERs/DESMOND/GIRARD/ sID= 1116053E \’b
RAC= B sEX= M DoB= ¢-¢-_
HGT= 602 wGT= 260 HAI: BLK .

EYE= BRO PoB= MI
` oan MI/w4361392')9949

SOC:

PHOTO AVAILABLE: NO

STATE’S
EXHIB!T

iZ

SCAR/MARK/TATTOO: MIss L FGR

    

ADDITIONAL IDENTIFIERS AND COMMENTS:

  

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ICHAT Conviction Record ~\ » `“ x _F Page 2 of 3

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DLN: MI/W536139279949 IL/W4§616761355

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ARREST SEGMENT . CHARGE SEGMENT JUDICIAL SEGMENT

DATE: 08-09-1980 : DATA NOT RECEIVED : DAIE: 08»11~1980

M12539800 ~ :

PD FLINT : CNT-l

OCA: 72132 SOLICIT

1 CNT OF 4000 : : PROSTITUTION
COMMERCIALIZING SEX : : DISP: FOUND GUILTY

DISP: CHGD BY PROSECUTOR : : SENT/REMARKS:

F/C/R-$lao CoNF~30D

____=‘*==...."=z=:=====z=:=::=._-___.-_.__._.__.._.__._.__.__._______-_________

CRIMINAL TRACKING NUMBER: 90-81-110646-01 INCIDENT DATE: 06‘12-1981
NAME USED: WALTERS/DESMOND/GIRARD/ ’

 

 

 

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DATE= 06-12-1931 = DATA NOT RECEIVED = DATE=~o?=zv;lssl
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- = ANIMALS - ABANDQNING/
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= coNsPIRAcY To coMMIT
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cRIMINAL TRACKING NUMBER; eo-ea-105236-01 INCIDENT DATE= 04-16»1984
NAME UsED= wALTERs/DESMQND/GIRARD/
§ ' ARREST SEGMEN'I' : CHARGE SEGMENT : JUDICIAL seem y r2
` ====================='=2‘.= 2 ===============22======:: 1 ======================== l
§ DATE: 04~15-1984 : DATA NoT RECEIVED : DATE: 05-10-1984 '?:)
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::===::=~._"========z========:=====:

INCIDENT DATE: 06-11-1992

CRIMINAL TRACKING NUMBER: 11-92-200098-01
NAME USED: WALTERS/DESMOND/GIRARD/

 

CaSe 2213-CV-11989-BAF-|\/|AR ECF NO. l filed Q\5/03/13- PagelD.67 Page 67 Of 95
ICHAT Conviction Record Page 3 of 3

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`~ \/
ARREST SEGMENT : CHARGE SEGMENT : JUDICIAL SEGMENT
_w_ ~ _ ;_PAIE: 06-11-1992 , _ : DATE: 06~11-1992 : DATE: 06-12-1992
MIllOS?OO : M1110013A : MIllOOZSJ
MSP ST JOSEPH : PA BERRIEN CO ST JOSEPH : CT GSTH DIST ST JOSEPH
OCA: 57121792 l CNT MCL 333.74032D : CFN: 1992A04284
l CNT OF 3500 : MISDEMEANOR :
MISDEMEANOR ' CONTROLLED SUBSTANCE~ : CNT-l MCL 333.74032D
DANGEROUS DRUGS : POSSESSION OF : MISDEMEANOR
DISP: CHGD BY PROSECUTOR : MARIJUANA ' CONTROLLED SUBSTANCE-
: POSSESSION OF
: : MARIJUANA
: : DISP: PLED GUILTY
z SENT/REMARKS:

~ ' : FfC 245 OR JAIL 24 DAYS

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RMATION IS SUBJECT TO MICHIGAN & FEDERAL

DISSEMINATION OF CRIMINAL HISTORY INFO
TLE 28, USC.

" RULEs s REGULATIQNS. REFER To LEIN ADMINISTRATIVE RULES c 'r:
csa os mrs REcoRD rs LIMITED To THE PURPosE oF INQUIRY.

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View Responses New Record Search

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Page 68 of 95

 

 

 

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STATE OI~` MICHIGAN
DEPARTMENT OF CONSUMER & INDUSTRY SERVICES
OFFICE OF COMMERCIAL SERVICES

ln The Marter Of:
DESMOND GIRARD WALTERS

1301 W. Stewart Ave.
Flint, MI 48504~2279

Norlcs or DENIAL or AN APPchArroN ron

A SOClAL WORKER R.EGISTRATION

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NOTICE rs herewith divert that the DEPAR'I'MENT OF CONSUM£R & INDUSTRY

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//'~\
SERVICES, Oft` ce of Commercial SemUnt roche Occupauonal Codc, 1980 PA 299 § __
as amended, MCL 339 101 er seg., beA 18 .425(101) er seq (hereafter "6ode"), and the Former`!
q iof"f`éhders Acc, 1974 PA 331, as amended, MCL 333 41 er seq has determined that the applicant
is unqualified for the license or registration requested for lack of good moral character within the

meaning of the Former Offenders Act. Accordingiy, the APPLICATION FOR LICENSUR.E

orr REGISTRArIoN rs HEREBY DENiED. The basis for me denial is as rottows; (,)
l. Certit'xed copies of the Criminal Records (exhibit l) for Case No. C’I"B~95~ n:) .
343 from the 67th District Court, Genesee County, State of Michigan § \

Estabiish that the Applicant pled guilty to No License in Possessioo and '_

was sentenced on or about November 9, 1995- The Applicant was ordered )£lj~

to pay a total of One Hundred Thlrry ($130-00) Dollars or serve 5 days iu

Jail.

STATE’S

EXH\B|T

EXHlBl`l v K

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® Certified copies oi` the Crirru`nal Records (exhibit 2) forCas'e No. 92A§

04284-SM from the Sth District Court. Berrien County\ State of Michigan

 

 

establish that the Applicant pled guilty to Possession of Marijuana on or

 

 

about June l?.. l992. The Applicant was sentenced to payment of Fines

vi

and Costs of Two Hundred Forty~l~'ive ($245.00) Dollars or serve 24 days

*_

in Jail. On or about October 22, 1996, the Applicant pled guilty to Failure

to Pay Fines and Costs and was sentenced to Fines and Costs of One

 

 

 

 

 

 

 

 

Hnadred (sioo 00) Dollars or serve 10 days galan 5
§`1_ ri s g
§ §§ @ a( copy of the Crirmnal History Record and a letter from the Applicant
il ivy W " ”"'“ '** ~"‘“" t
§ ge _J §§ (eithi"oit 3) establish that the Applicant was convicted of Misuse oi‘ Animals `
§§ l f § .. ,,»~»~“-~~ ~»-.~» - wl _.
\J 15 ,
\ 3,;,sha§£:}i` ~\`, on or about May 10, 19&¢ and Soliciting a Prostitute on or about August
ja §§ `\>""°\a ,.,- `~`_,.__,._<- __, l __
aj ~; v '

8, 1980. The Applicant was sentenced to 30 days in jail and Fines. Costs
aaa newman ofrwo Hnadied twa (szos.oo) Dollars for the Misaaa ar
Animals conviction The Applicant was sentenced to 30 days in jail and
Fines, Costs and Restimtion of-One Hundred Eighty (5180.00) Dollars for
the Soliciting a Prostirute conviction

'l'he instant denial of a license or registration for lack of good moral character

ill
shall not operate as a bar to denial of said application for other reasons if it should`be §%f \,b

subsequently determined that the applicant is otherwise unqualified THE
AP.PLICANT IS HEREBY NOTIFIED that in the event the Oihce of Commercial {(j§(`

Services determines that the applicant is unqualified for reasons other_than lack of good

EXH|BI`! _ , 14 PHQi-'..'QT._OL_,LI/..

 

 

l CaSe 2213-CV-11989-BAF-|\/|AR ECF NO. 1 filed O5/03/13 ~. Page|D.71 Page 71 Of 95

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x ,

moral character. the applicant will be notified by way of separate 'and'different "NOTICE
Ol; DENIAL."

YOU ARE HER_EBY NOTIHED that in the event you have relevant evidence oi`
§ qualification not previously considered by the Office of Cornmercial Services you may,
within thirty (30) days of the date of mailing of this "NO'HCE OF DENIAL," pursuant
to Sections 515 and 516 of the Code file a written petition with~the Oitice of Commercial
services aaa the BOARD or exAnnr~tEas or sociAL wonr<)zizs seeing forth chase
reasons why the SOClAL WORKER REGIS'I'R.A’HON should be issued. Said petition}`
may rebut the evidence set forth in paragraph(s) l, 2 and 3 above by showing that at the
current time the applicant has the ability to, and is likely to, serve the publicin a fair,

a honest, and open manner, that the applicant has been rehabilitated or that the

 

il :`i"”§`” substanriejs)»dfth‘e‘i`ormer offense(s) is{are not reasonably related to er§gcdge O§so§ial_

  
 
  
   

 

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e" work;i:‘:$;id petition may be accompanied by a brief summary of the incident(s) which
v ’ ii§§`led~ti;:h; conviction(s) and the factors surrounding the incident(s); business/personal
references; a report from the applicants rehabilitatiiz specialisf, if auYa indicating the
t" pzossiliility of similar future incidents; a current report from the applicants
i;. §§§i”ole/probation officer, if pertinent; etc- §§ v ` //\

§§ IIF SUCH A PETITION IS TLMELY FILED, the Office of Commercial Services §§

§§ and the BOARD or EXAMNERS or socrAL wonrtr.ns win reconsider rne

”‘r)1 \3 5 ?z y \\d
a , 7 application in view of the reasons set forth in the petition. @~ _

THERE WU_.L BE NO ADMNTSTRATIVE HEARING HELD IN THE

 
 

CONDUCT OF 'I`HIS REVIEW AND, THEREFORE, IT IS MPORTA.NT THAT THE

l y Page 3 ofd.

Exlitsn /‘l page 3__0\__%

 

 

Case 2:13-cv-11989-BAF-|\/|AR ECF No. 1 filed 05493/13 .Page|D.?Z Page 72 of 95

'v \_,

\__/ '-\_,

vermont coMPLerELY DErArL THE REAsoNs"°'wH"Y THE»AI>PLICANT
snour.n ne seamen A socrAL woman resignation

UPON COMPLETION OF THE REVUZW, THE APPLICANT SHALL BE

NOTIFIED CF THE DECISION IN WRITING.
THE APPLICANT IS FURTHER NOTIFIED that this NOTICE OF DENIAL is

considered FINAL as of the DATE OF MAH.ING unless a petition for review is

received within thirty (30) days from the DA'I`E OF MAH.ING.

5
z
MICHIGA.N DEPARTMENT OF CONSUMER

AND INDUSTRY SER.VICES
‘ , Kathleen M. Wilbur, Director ~

By- WHL»'-:/

Ymes H!Montg'hrnery, Director
ornmercial Enforcernent Division
Of§ce of Commercial Services

DATED; March 24, 1997

Written Petition to the Board Should be Addressed To:

DEPARTMENT OF CONSUMER AND INDUSTRY SERVICES
Board ofExaminers of Social Workers
P.O. Box 30018

Lansing, Michigan 48909 §»%' \,b/

Page4of4

Exnlen , _ ,H J)HQQ_Z._OL_LL[

 

 

Subject: A

t The University of Michigan

~ employment l received Certificatas of Complet_ion or partic

CaSe 2213-CV-11$‘9€89-BAF-|\/|AR ECF NO. 1 filed_05/03/13 Page|D.?S Page 73 Of 95

. _,._»

"` . 4

rtment of Consum.er and Indnstry Services Board of Examiners of Social

TO: Depa
Workcrs.
“Rewrite” of a Pctition of Review of a Denial for a Social Work

Technician Licensel Registration.

Dear Depari:ment and Board members: November 23,1998

. I, Desmond Walters take u.p_my pen to assure you that granting me a 4 v
registration /licens_e at this time will not endanger any citizen of the_State of _ %(l
Michigan. But first I would like to thank the Department and Board for- allowmg me

this o ortunity to make this appeal _ _
pp caution I was upset and I apologize ifI

Following the first denial of my appli y _
ken to. My efforts were simply an

said anything rode to anyone l may have spo
attempt to provides decent living for my daughter who I love dearly. .
First of all, I feel that I have rehabilitated myself by way of completion of

High school in April of 19&0; Mott Community College in June of 1987 and the

(Flint)'May 1991 and finally Graduate School at t_he
v l times I Was able to find

nation in..Edsssfisse'
And Vocational training programs I.n those jobs of serving the public I have always

rovided fair and honest services. Su_bseqaent to_the denial of the license I have
provided the Board with the above documentation -as well as references and proof of

Depaul University Juiz'c,'~1~997. In addition during those

.»

employment Since I have nor received confirmation that they have been received

those documents I am enclosing a second set.`
In a sincere effort to change my life I have worked diligenth to remove the

defects in my character that occurred earlier in toy life. My faith in God has never
wavered through this trying times lwocld like to remind the Board that I have
paid for my transgressions and accepted responsibility for those through fines and
jail time. fn short, I want to get on with my life'and provide services to those who

are in need of them.

As a result of my determination to serve my fellow men, I have done
ed and become licensed to

considerable research regarding others who have reform K
practice an occupation All of that led to my attaining a higher education. It also has §¥ \/b/

,

paid off with an ability to conduct research findings Such skills are a valuable asset

to an employee as well as their employers and the public they serve. Bn_t.more
importantly l learned that`there are provisions in the various statutes that allow

someone such as myself Who has made mistakes to overcome them by Way of j ; 1

statutes of limitation.
l discovered after making my second application for a license on March 26,

1997 (n year after the first license was denied) that had I waited approximately
ninety more days or on June 11, 1997 I would have automatically been qualified to
be_licensed. .That was because the aforementioned misdemeanor offenses of 8~9-80;
7~27-81 and 6-11-92. Ina_smuch as the Board rejected my license on 10-23-98 l feel
the statute of limitations were in effect at that time. I qu ore from tile Public Acts

  

STATE’S
EXHlB|T `

___N___ ‘

 

 

d M-CV-l-lQSQ-BAF-MAR ECF NO. 1 filed 05/03/13' Page|D.74 Page 74 Of 95

/_-

...,Pen_alty © denial of a License or

1980-number 299, Article 6, PA 339.692 “
.. Penalty `{d) which states:

Certificate of Registration and PA 339.604 Sec 694 . ‘
tted a felony or a crime involving fraud or moral turpitude

“Commi_ts or has co~mmi

within the past five years.” The first two exhibits (I) and (2) are far heyondthe live
years mentioned in the statutes or Board rules and regulations In fact they are _
beyond the five year limitations by over three times Seventeen and eighteen years is
a very long time to keep me in a precarious position l'. am sure that is why the

Legislature provided the five year limit. , .
~In short, l would like to plead with this Hono_rable' body to please reconsider

the decision of10-23-98 and take into consideration not only the legal question

involved but the fact I have rehabilitated myself completely and desire to serve my
fellow man as provided in the enclosed documents fn summary, the public interest
will be harmed if I am not licensed, they will have lost a dedicated and valuable

servant who only desires to serve.

Thanlcing you in advance, I remain

Y nrstrnly, ,! .#,\ _ -~\ ,`, 9
4 y1)¢'5111'<§1§¢1'"”G’J.‘(\§s'=niéi-i,, M.A. caci
Applicant -Petitioner.

Enc:

DD FoRM 214 (Us. MARIN'E coRPs)

MICHIGAN OSA_S CERTIFICATION PROGRAM (2).

comment or Acnnivsnnsi .mensr motors
CERTIFIED ADDICTIONS~ CGUNSELOR' LEVEL I<CERTIFICATE
BA‘CHELOR OF ARTS DEGREE~ ll Ot<` M-Ft_-INT '

TRAINING CERTIFICATE-NAHGNAL CRI_SIS PREVENTION INST.
MASTER OF AR'IT_S - DEPAUL UNIVERSITY

LETTER OF REFERENCE -ASSOC PR()F TACCARINO, DEPAUL llva

LETTER OF REFERENCE~OPPORTUNITIES NETWORKING SYSTEMS

LETTERS or REFERENCE-DETROIT EAST iNc. ` ' `
LETTER OF RECOMMENDATION~CHAS B. THOMAS ASST FROF UM-F

LETTERS AND JOB DESCRIP'I`IGN~ RENNAISSANCE WEST.

REQUEST FOR TEM_P LI_CENSE-DESMOND WALTERS' (NO’I' RESPONDED) 0
REJECTI<)N or APPL-Nsw czst cM-H nn'rnoir. \
MISC DOCUMENTS TO SUPPORT APPLICATI'ON.

 

 

 

 

 

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Case 2213-CV-11989-BAF-|\/|AR ECF NO. l filed 05/03/§|,_3 Ea_g§|D.?G Page 76 Of 95
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cAsE No._
04-013409-FH- N

STATE OF MICHIGAN
7TH JU'DIC~IAL CIP.CU’IT
GENESEE COU_NTY CIRCUIT CD_URT

JUDGMENT oF sENTENcE`  
cOMMITMENT To JAIL

 

 

Court '£elep'as:xe n . .

 

f`l' Court Add:as:; COUN'I"£ CLERK
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plice Report No. FPD2074203

Defendant‘a nam<:, adc'ress, and telephone n . '

 

§ The State of Michigan

v ., 1-'\ 9
T:B?» PLO- LE CF nzsmoun crimer vALTERS

 

 

 

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HE COURT FINDS:
Defé`n'd§nt~ was '~f~:nind"" guilty orr-=-

10[22[04 t of the crime (s) as stated telow:

 
 
  

 

 

 

 

 

 

 

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Count ?léa* Court Jury B"."* ~ CRIME v MCL citation/?ACC code
1 G cNTaL sue P¢sszss <2§ GFM 3~;3.740321=.5 -
2 ~ ~ - NP_ ama sUB DE.L sci-1333 1.2,3 :-,)3,740122~1\. "
3 '. ,..;-,_. . NP, ,,= cS-z~L'-:IN/DRUG HoUsE/vE:-IICL 3;3.74051: ` "

 

 

 

 

 

 

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1 for_ diamiese~i by cou;t or NP far dismissed by prosecutor/gla.mt:.£f.
. Defendant @ represented by an attorney: CLARK,HBN?.Y Jr.,JR.

ZT__'__,~IS ORDERED : v
jail a_.s" follows: ”" l:) _Repcrt a»: _. m,

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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" Date lieutean $ent¢n'r:e:`i ':r`edi::d 'r<) Ee Se:'ved Release`kuch:ii"m& Reléta¢ Seried
Count"" . " ?.ngz:l=§w`w Mb'§. ` Dayé` Mos. Daya Moa. Daya for the Falltwin§' Purp`ose _ ram 'Io
" ` 1790 .ent of f`.e costs ‘
1 -l'}`/ ?`1~/ 04"-“:`::“ "" 59 ~ 5 55 § T;: :Q::Y:r seek w:¢:k/ ..... t
. j ' ij 'E‘Gr attendance at school. . §
f . :] ?or medical tra ztment .....
§ [] other t y d
s o.ao' cans wrenn :~"'.-_s $so.oo STA"I'E HIN¥.;~rUm costs

Defendant shall pay as fcllows:
5500.30 CUURT CCSTS
The due date for payment is . ?ina. costa; and f-aes not paid within 55 days
of the due date are subjei:t to a 20-'£' late penalty on the amount oved.’ [:} Defendant shall
serve days in jail beginning for failu;e to pay on l:ime.
} 10. Defendan‘-: shall be placed cia probation for 18 months'and abide by the terms 0'
probation. tsee separate crder.)
O°Ch‘~’r¢ DEE".'.‘ TO SERVB IN THE GENESEE CO. JAIL NII'H WORK REI.-EASE
AND FOR MEDICAL TRBATMENT. DEFT To coN~I‘J:NUE cOUNsEI_~ING
A‘l` WOODWARD. DEFT TO REPGR‘I THIS CASE TO THE DBPAR‘IMENT
OE’ LICISING. '

}14.

 
 

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II:.‘ `:i"_§?~

(SEAL)

 

L` sTATE’s

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C 219 <9/03) JUDGMENT

PFRE-

 

MCL 7GS.L5(2!, HCL 763.163. MCL

OF SENTENCE/COI*B'IITMENT 'I‘O JAIL

§§

7?5.22. HCh 73&.765,

EXH!B|T

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MCL 75

      

Case 2213-CV-11989-BAF-|\/|AR ECF NO. l filed 05/03/13 ~~Page|D.77 Page 77 Of 95

Michigan Department of Community Health M£ B:@_M -» 7 page 1 orz_
Board of Social Workers _ ` » ' "
P.O. Box 30670
Lansing, Mi 48909 _ .

<517>335»0918 . §§ :§§§§~§ ‘:~§§z§-: §§§:§
' W~“*d‘*ga"w»wme»se §§§ §§§§ §§ s§..§
APPLccATon FoR A BAcH ELo R's soczA:. woax License §-~ :~.§z§§§

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nge or Print L|y
§ AM APPLY!NG FOR THE FOLLOW! NG: R°g’s” m maher

L'J Lfmnad Bachelor‘s Social Work License Fee: $40.00 71-6802~03

DaeafR ' don 1 _
Bame¢ors sociazwmxueeme\=qe: 340.00 °_n-aanz-m . \):?j<§€b §§ Z"FP 3

Cl Bachelors Social_Work License by Endorsemem Fee: $ 40.00 71»6802-09

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Ch§ck the appropriate answer te each of the following questions NOTE: Attaeh a detailed ex§fana£ion
l for any Yes answei' you check. f

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1.. Have you ever been convicted of a fean

2. ;leave;ou ever been convicted of a misdemeanor punishable by knprisomlen! for a macim_um term of 2 g Yes No d
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3. Have you ever been convicted of a misdemeanor favong me ¥Hegai deEvery possession or use of x D No
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5. Har\i/ed;ou had 3 or more malpractice settiaments, awards. orjudgmenfs in anyconsecutive 5 m § ¥es
pe o . ` t '
6. Have you had one or more maipractice settlemsnls§ awards. orjudgments totaling $200.000 br more g Yes d @4
in any consecutive 5 year period? ` .
T.~Have you ever had a federal or siafe health professional license or registration revoked suspendad, ¢s § N¢
or otherwise discip|°med: been denied a Rcense; or currently have disciplinary action pending against you?
8. Have you ever been censured. or requested fo withdraw Frém a health care Bcwfy‘s staff or tied your health g Yes D/NG

 

 

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95 you hold or have you held a s

   
  

      
  
  
 
   

ocial services lechnician registration or icense in any siaie(s)? d Yes
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go N0`l` LlST TEMPORARY LlCENSES. You must have each state board verify licensure directly
to this board omce. (Altach additi al heels if necessa .)

    

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EDocAnoNAL Reco§c

 

 

 

 

Provide a chronological record of your educational preparation Atlach additional sheels if necessary.

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'Major Area of Siudy

 

    

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asis.

. 4 hours per month with al least one hour being on an lnglivldual b

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REG!STRAT!ON NUMSER

  
  

             

    
   

   

 

 
  

 
  

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her consent to the release of mmc-marlowe this agency regarding any disciplinary investigations conducted by a similar \<\
l fog ore registration, or SP¢Cialfy certincation board of this or any other siaie. of the United States military, of the federal

HC€'»S got or of another collrdry.

govelnm

me statements in this application are true and correct

l have not withheld information that might affect lhe decision lo be
adé on wis application in signing this application l am aware that
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a false sia£emenl or dishonesl answer
f gan"‘iai ofm)' ZPP"<`-aflon or revo_céiion of my license and fhal such m`
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Michigan Department of Community Health
Board of Counseling
-P.O. Box 30670
Lansing, Michigan 48909
~(517) 335-0918

A_ppropriate Ouestion Responses
Application Question “Yes” Responses

Question 3: Have you ever been convicted of a misdemeanor involving the illegal

___'_delivery,hl’osses'sion,j qi_'_\;sg of_ alcohol or a controlled substance (including motor

vehicle violations)?

"_’Answeff`Yes, l have"a misdemeanor conviction for the illegal possession of marijuana in

1992 during a motor vehicle traffic stop.

z ~,¢_-..-.,.;..-.“.__ ._ ._....~ A._._._...»...~. .... ,..~..,.__.

Q.uestion 4: Have you been treated for substance abuse’ m the past 2 years?

Answer: Yes, l entered treatment in January of 2004 and participated consistently in a
eight week or two month program for sixteen months until l was kind of forced-out with
an earned completion certificate and a good prognosis for continued sobriety. r.{'hen l enter
a second program within the same week for another six months in another eighi week or
two month program for a total of twenty-two months almost two years of consecutive
substance abuse treatment and participation in 2 different programs with another
completion certificate and good prognosis for continued recovery. When if completion

~ seeking l could have been done in the first programs eight weeks or 2 months due to no
‘ dirtyuiines and excellent attendance then this question here & now would be no.

Question 7 : Have you ever had a federal or state health professional license or
registration revoked, suspended, or otherwise disciplined; been denied a license; or
currently have disciplinary action pending against yon?

Answer: Yes,' I have been denied a Social Work Technician Registration soley on the _ {9
grounds of “Lack of Good Moral Character/Tm~pitude” on 3 separate application efforts l\
over the past ten years. ` aj

‘ \

End_of “Yes” answers of questions asked on the State of Michigan licensing
applications \?‘

 

 

 
   
   
    
   
  
   
   
   
  
   
  
   
   
   
  
     
  
    
   
  
  
      
   

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l ’ Michigan Department of Community Health
Board of Counsel ing
P.O. Box 30670
Larlsing, Ml 48909
(517) 335~°9`18 ` tro motions tamm salinas
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APFLICAT!ON FOR LlCENSURE AS A COUNSELOR

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Type or Print Only
l AM APPLYING FOR THE FCLLOWiNG:

U 'onal Counselor License by Exam ~ Fee: $=115.00 ?1»6401‘01
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Check the appropriate answer to each of the following questions. NOTE: Atiach a detailed explanation for
any Yes answer you cheek

 

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Haveyoueverbe_enoonvleosdofafelony? 13 Yos 13 No

 

2. Have you everheen convicted ofa mlsdememor nishable_ b imprison maldmum. .

term ofz yeas? pa y mentf°ra § Yes No \');
3 Have you ever been convicted of. a misdemeanor involving the illegal delivery possessionl or d ai/ ' - '

use o`f alcohol or a controlled substance (inc|uding mowrvehlcle via 1 cl Yes g N° ' `

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¢;C:lave you been treated forsubs§noe a;use in tl:\npastZ ym? ayer a y%r 350 ¥."m- g N°
Fr~.owti»\"> m DY\€, Sn Ma,\ hhs

5 Have you had 3 or more malpractice setliemenis avzardshcrjudgm‘:hnies€l-'l avr£l`;‘:oorls,\;;z(<§ B?MMH`$§ Yes . M No

year period?

6 Have you had one or more malpractice settlements awards, or judgment towing $200, 000 or g vw
more in any consecutive 5 year period? ry

 

 

The Depaltment of Commlm Health will not discriminate against any minimal or group because of race. sex relglon
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CaSe 2213-CV-11989-BAF-|\/|AR ECF NO. 1 filed 05/03/13 Page|D.Sl Page 81 Of 95

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. DCH/LCN-Oio (02/05) "."" " 4 v » Page 3 of 3

 

Name

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Provide a description of your professional counseling experience
Attach additional sheets if necessary

 

 

 

 

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Name and Address of Employer me a S m _ Duves

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l understand that it is the policy of this agency to secure a criminal conviction history as part of the pre-licensure
screening process l authorize this agency to use the infomiation provided in this application to obtain a criminal
conviction history tile search from the Central Recorcls Division of the Michigan Departmént of State Polioe_ or other law

enforcement or judicial record-keeping organization

 

 

 

 

 

 

 

 

 

 

l further consent to the release of information to this agency regardng any disciplinary investigations conducted by a
similar licensure, registration or specialty certification board of this or any other state, of we United States militaly, of the

federal government or of another oountry.

e statements ln this application are true and correct l have not withheld information that might affect the decision w be
de on this application ln signing this applcation, l am aware that a false statement or dishonest answer may be
nds for denial of my application or revocation of myi license and that such misrepresentation is punishable by law

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Michigan Department of\eommunity Health
Board of Counseling
P.O. Box 30670
Lansing, Ml 48909

(51 7) 335-091 8
mm.mimlgan.govlhealhlioense

   
  

APFL|CAT|ON FOR LlCENSURE AS A CCUNSELOR ;!

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l AM APPLYlNG FCR THE FOLLOWING:

 

 

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All Prevtous Names and/or Birlh Name Used (if applicable) E-Mail Addrees

Have ever held a heale professional Hcen_se in Mid\lgan?
NO C! lfyes, list Michigan permanent l.D./llwnse number and expiration date: ` , ,L
Check the appropriate answer to each of the following questions. NOTE: Attach a detail anation for
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‘ any Yes answer you check.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1.Havey0ueverbeenoonvk:edofafelony? Q/yes g 'o

2. Have you ever been convicted of a misdemeanor punishable by imprisonment for a maximum g Y v/;:o
term of 2 years? a

3. Have you ever been convicted of a misdemeanor involving the magal detivery, possession or q/y% g No
use or alcohol ora controlled sum (muding motor vehicle viocauons)? /

4. Have you been treated for substance abuse in the past 2 years? g Yes NO

5. Heve you had 3 or more malpractice settlements awards, or judgments in any consecutive 5 g yes / N°
year period?

5 3.\Have you had one or more malpractice settlements, awards, ~or judgments towing $200,000 or g yes No

more in any eonwoutive 5 yearperiod? `

 

1a Department di Community Health will not discriminate against any individual or group because of raoe. sex. religion_._age. national E>n_'_gin: oolor.

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Provide a description of your professional counseling experience
Attach additional sheets if necessary. »

 

 

 

 

 

Dates of Practice v m

 

 

 

 

 

 

 

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l further consent to the release of information to this agency regarding any disciplinary investigations moducted by a
similarlicensure, registration, orspeoialtycertiticationboard ofthisoranyotherstate oftheUnitedStatesmilitary, ofthe
federalgovemment,orofanothercountry

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grounds for denial of my application or revocation of myr liwnse and that such misrepresentation’ rs punishable by law.

‘ Slgnam/r§/of Applicant Date

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Case 2213-CV-11989-BAF-|\/|AR ECF NO. l filed 05/03/123 Page|D.84 Page 84 Of 95

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STATE OF MlCHlGAN

JENNlFER M. GRANHDLM DEpARTMENT OF cOMMUNlTY HEALTH .lANET OLSZEWSKl
GOVERNOR LANS|NG DlRECTOR
MEMORANDUM
TO: Sherri Johnson, Manager
Allegation Section
FROM: Rae Ramsdell, Licensing Director

Licensing Division
SUBJECT: Desmond G. Walters
SS#: m

Applicant for Licensure - Counseling

DATE: April 30, 2009

 

information provided for the captioned applicant does indicate that the applicant lacks
the propensity to serve the public in a fair, honest, and open manner.

Applicant has had previous denial by Board, Board needs to review application
Please proceed with a notice of intent to deny licensure for this applicant

Attachment

Approved: _MMLBILW)U
Melanie Brim, Bureau Director '
. \
C: Applications Section MU Lq\§
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BUREAU OF HEALTl-l PRGFESS!ONS
611 W. OTTAWA o P,O. BOX 30670 ¢ l ANsiNr; er~.i-iir".AN mcmann

 

Rpceived Time Au!. 5. 7009 4204FM NO.N&S'

Desan G. Walters

._ Case2:13-cv-11939-B'1K§-A/;R‘AAR ECF No.1 filéd'oS/Q3/13 r§hgelD.e:s Page 35 of 95

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MIC}HGAN DEPARTMENT OF COI\MUNITY HEAL~TH
Board of Social Work & Board of Counseling
` P.G. Box 3`0670
Lansi;ug, Michigan 48909
~ (517) 335~0918

TIVE U SHO 01\1;$"
NOTE: Application(s) questions “Yes ” Respomses

]. Havs you ever been convicted qfafel})ny ?
Answer: ' Applicant/.Respondent in reply to “Yes” answers on 1;53 application(s)_ now
amends his plea to nolo contendere and/or the HRh amcndhent pursuant to
MCL 333.1670a, sec. (2-3).

3. Have you ever been convicfed afa misdemeanor involving the illegal deliven), possession, or
used of alcohol or a controlled substance (including motor vehicle violat£o)is) ?

Answer: Applicant/Respondent has one misdemeanc;r conviciion for illegal possessioz_a of _
` marijuana in .`hme 1992 during a motor vehicle stop. Since theu, Applicant has
c§mpleted w court-ordered substance abuse programs in Ja:maly 2004, May
an Novcmber of 2005. The last program completion was in compliance with the
Boards et' al._. mandate of rehabilitation and good moral character pursuant to

_ MCL 339.510. [with attachmem§}.

   

The End of “YES” answers ofquest)lons asked on the State oszc!zignn, Department of
Community Health Applications for health licensure in 2009. _

RES?ECTFULLY SUBMII`TED,

Si.n.

Applicant/Respondent

 

 

 

 

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State Of Michigan
Ih'The Circuit Court for The County of Genesee
v AMENDMENT

" ' ' To
‘ CLAIM OF APPEAL
;%.- Desmond G. Walters, MA, LPC, CAC-l No. 97-59446 _AE (Revised)

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F]jnt, Michigan 48504-2279 P-25466
," Pro Se
-\~»»~ Claimani-.Appellant- Petitioner 1 ‘ B 1996-08123-RR2~ 7 _
" - 187396W' 01<1#141341W

_M -..... -._»- V.S.

v h Commlmity Recovery Services, Inc.
: ' 711 N§rrh Sagiz;aw S;reez

'1" » slate 323 f

”~~ Flint, Michigan 48503-1703

Employer- Appellant- Respondent
&

  

" : 4 :':J€;émployment'lnsmance Agency, (f!k/a Michigan Employment Security Agency)
" Mi;:higan Depa,rtme;nt of Consumer & Industry Services- Board of Social Work

7 ` ._ . AppeHee-Rcmponde`nt

. '»._..,_;

 

~»»~>A»_._»

‘ ' APPELLANT BRIEF \')')
fritz w`;"'¢lssue('§) Involved ln: §§ ` _
1. _Use of Dlegal Drugs. . 3/29/96 £()`\`

2. Under the Docu'me of Emgloygent'Ar-Wm

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g THE DRUG TESTH\IG PROVISION OF SBCTI@N 29, (1) (M) OF THE MICI-HGAN
EMPLOYMENT SECURITY'ACT? ' '

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EXCEPTIONS TO THE DOCTRD~TE, W'H`[LE MANY ALSO RECOGNIZE ONE OR
MORE COMMON-LAW EXCEPTIONS. W`HICH EM:PLOY`MENT A'I`-WILL
EXCEPTIONS M.[CH[GAN RECOGNIZE?

STATE’S
EXH{B!T

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jENN,FER M_ GRANHO,_M y oEPAFrTMENT or= comman HEAL_TH ` v ~ JANEL"QE,_SOZEWSK,
seventeen ' LANSING
December 2, 2004 ~ RE(;E| VED
DEC 1 0 2004
7"‘ Circuit Court ; EUREA
Attention Court Clerk U UF HEALTH PRDFES l
900 S. Saginaw St. C°MPLNNT& ALLEGAHON biggng
Flint, M| 48502

 

STATE oF MrcHrGAN

Subject: Request for CERTlFlED Court Documents

RE: WALTERS, Desmond G., SWT
D.O\B.: 12114/1961
CASE #: 04~013469FH

Gur Department has received information that charges have been filed in your court on
the above named health professional who is licensed or seeking licensure through our
agency Because of this information we are conducting an investigation

P!ease supply us With 3 §§BBELE_Q Copy of the following documents (a true copy is not
suflicient for our purposes);r .

. ___/information _____T" ket 1 _-zséntencing/Judgment
___ indictment ___ robation Order ____ Dismissal Order

___ Complaint _l_/F@a Agreement ___l<DB.Ckei/Register of Actions y&

_____ Defendani's Sentencing Memorandum ___ Jury Verclict Form

_____Warrant . 3 g e/(.\C'\C)S q d %

if you have any questions or encounter a problem with this request please contact me
at (517) 335-4334. Your assistance with this matter is appreciated

 

Sincerely,
jj ‘ § § ` » Please Forward Certified Copies Tc:
Pamela Dixon, Departmental Analyst Pameia Dixon d

Complaint & Allegation Division
Bureau of Health Professions
Department of Community Health
P.O. Box 30670
Lansing Ml 48909~8170

Complaint & Aiiegation Division

 

 

 

 

 

Case 2213-CV-11989-|§AF-|\/|AR ECF NO. 1 filed 05/03/13 Page|D.SS Page 88 Of 95

 

STATr-: 01~' MrcchN

Allegation Section
Complaint and Allegation Division j

FROM: Pamela Dixon, Departmental Analyst
Allegation Section
Complaint and Allegation Division

SUBJECT: WALTERS, Desmond G., SWT Pending
Contingent File #68»04-97471

This Crimina| Contingent File was opened on December 2, 2004, upon receipt of information
from Kennon Dertt, Assistant Prosecuting Attomey, 7“‘ Circuit Court, forwarding information
that Mr. Walters had been convicted of Possession of Controlled Substance iess than 25 grams
The offense took place on or about October 16, 2003.

All standard documents were requested from the 7th Circuit Court Cert1t` ed copies of the
documents were received on December10, 2004. , .

Case 04~013409FH

On Ootober 22, 2004, Mr. Walters pled guilty to Controlled Substance Possession less than 25
grams. On November 24, 2004, Mr. Walters was sentenced to serve sixty days jail with five
days credit with work release and medical treatment, placed on probation for` eighteen mo`nths
with terms ordered to pay f ne and costs totaling $620 to continue counseling at Wood_ard and

‘ Mr. Walters dld not contact the Board to report the aforement1oned cnmmal conv\ct1on

No complaintl ties and no additional contingenti files are listed on Worl<flow or Licensure 2000.
A SOS record and a LE|N were completed

report this case to the Department of Licensing Q)Y. \X

The licensing screen shows that Mr. Walters applied for a Social Work Technician license, On
December 6, 2000, a request for lntent to Deny referred to CAD was entered. On February 1,
2000, a hold was placed on Mr. Walters’s application

l recommend this ti be closed, No Action Taken, pending licensure application
w§{:#~ %M- g /- z.s“;,a S"

Sherri Johnson y Date

BUREAU OF HEALTH F'ROFESS|CNS

JENNiFER M. GHANHOLM DEPARTMENT OF COMMUN'TY _HEALTH _ JANET oi.szewei<z
GOVERNOR LANSINC, v oiREc'rc.=-‘
MEMORANDUM
DATE: January 10, 2005
TO: Shem Johnson

 

//~" 1 .` case 2:13-cv-11939-B}§i#}1§AAR ECF 1\10. 1 filed 05/03/'13 "'§_agelo.ee Page 3910195

  

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_ _ H/_-\~ ,J
. Pre~'l`tial Services ~ '-.,’.-, - "j`_
AoMs~neTmmu 1 ~ ' Jon Care, Director ' - _ omrnT\Lu~:rAKE
iam 257-eiss ~ “ l ' imoi es'r~aeaa
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EAX ,saos. _sAelNAwsr. ' ' citizens FnoaimoN Au‘rHoarrY
v tmi 251-052\1 _ . 1=1.1m‘. moments usaa-mae - (aw) 257-adaa
v . _ __ v coMuuMn~r connech
BOUND OVER TO CIRCUIT COURT REPORT ‘°"” mm
TO: The Honorable Geo;€`rey L. Neithercut
FRoM: Cenmlmke, BabmAndews .
RE: WAL'I‘ERS, Desmond ' . DOCKET NO.: 04-13409~FH
CHAR.GE: l) PWID Cooaine<§O Grams CURRENT BOND: $5,000 PR SR
2) PW[D Codeinc
3) Maintaining a Drug House

AITbRNBY: Hemy marie Jr_, reede
DATE: .lannary 27, 2004

Desmond Walters has a ozment bond of $5,000 PR with supervised release through Pro-
'l`rial Servioc - Ceni:t‘al lutake with the following conditions cf release: l) Not to use alcohol
and/or any controlled substance 2) Bc evaluated by IARC, 3) Submitto drug tesn`ng, 4) Live at
1301 W. Stewart Avexmc, Flint, 5) Not to be employedat a bar and/or any esmblislment that
serves alcoholic beverages, 6) Maintain employmeer and 7) Not to possess a firearm and/or any
us Weapon. .

4 Since being referred.for supervision the defendant has complied with the requirements v
of release in asatiq)%ctory manner. Mr. Walters has kept 3 of 3 scheduled appointments .wlt.h
Central lntalce and all Comt appearances to date 'I'.be defendant was evaluated by’lARC on
szuary 10, 2003, and met DSM IV criteria for alcohol abuse IARC recommended outpatient
§reatmentz§,tzlg/&odward Counseling. Mr. Walters started treatment ar Woodward Counseling on

_ The defendant submitted to drug testing on January 23, 2004. The results Were
negattve. ` '

defendant lives at the required address with his mother.

. I
lt is respectfully recommended that bond remain the same Q §§
d ~ - n v '£' W

Mr. Walters claims to be self~enilp}vyed, working with DW Moving and Hauling. The \>\/
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l Case 2:13-cv-11989-BAF-|\/|AR ECF No. 1 filed 05/03/13 Page|D.QO Page 90 of 95
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JUDGE WlLLIAH §~L CRA‘NFCRD ll*JU'DGE HERMAN §AABABLE, ~JR.*JUBGE FRCHAEL D. MBARA. Ch`t€fJudgeProTem
JUDGE NA`H~\ANEL C. PEBRV Hl~JUDGE MONA 321 HOBERT$,Chlei Judge°L¥NEZTE M. WARD, CourtAdmkllstrakn'

To: Michigan State Police
Frorn: Charles Ovennan, Records Technician
Date: May 12,2006

Subject: Walters/Desmond Girard CTN 908419523601 mcider_l.t”date:i{ltS/IQMW

Upon the request of the defendant who is disputing a charge on his criminal record, I
researched the following charge in question:

Incident date: 4/16/1984: l CNT of 5500 Misc Health & Safety
Dispo: 5/10/1984 Misuse of Animals
CTN: 908410523601

y "" The defendant also gave me a copy of his booking card he had received from the Flint
Police Department and compared the items in question to his criminal history/lein.

l was not able to locate the charge with the 4116/1984 date; l checked both our state and
local, City of Fljnt Records.

looking at CCH, I also noticed that there was not an OCA number, like the lest of the
charges ‘

Our records do indicate that in 1981 (81-913FY) that defendant was charged with a

\>\'“\
similar charge, and maybe it was entered incorrectly creating a problem . \
l Either way, l am not able to locate the 4/16/1984 charge \\'

_ have; x es ` , lease contactmeatSlO-766-8996.
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d 1343 '“Z'g\i» . ~ '~’l)\f`~

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Records Tech.
_ eeo s; sAetNAw srnEEr
cc~ D Walters FuNT, wci-alessi 48502-1526
§ ~‘ (eto) res-sees
FAX (810)424~4499

 

N!AG!STRATE 766-8997 ABMIN!STRAT¥ON 766~89?0 PROBATION 766-8960

 

 

CaSe 2213-CV-11989-BAF-|\/|AR ECF NO. 1 filed 05/03/13 Page|D.Ql Page 91 Of 95

dwi-andam

DBSI041/98

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MM

DATE: May 26, 1998

 
 
  

'I'O: IvIr. Desmond Walters _ ,
Chemicai Dependency Component

FROM: Mmqegaow.smiai, 1

mg MLQYM states

 

 

Per our conversation on Frida\.y, 5/22]93, I am allowixig you thirty {38) days (6/27}98) to

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Personnel

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*'=NMW ' SrA'rEoi-‘MICHGAN
vi ~ _ MlCHlGAN DEPARWENT OF LABOR AND ECONOM!C GROWTH
Lmsmo

september 14, 2005 v

Desmond G. Walters _
1301 W. StewartAvenue
Flinf, MI 48504.

Dear Mr. Walters,
of no vocational .

~. ._ _..~..`- ...__»_~

YourceseisbeingdosedwithMichiganRehabthationServicesbecause ` ‘__,_ m

` "`“` " mw`cmplbyxiiéiit " ‘
If you do not agree with this decision to close your mse, you may appeal the decision Within 30
days by writing to Ms. Jay,e_‘N. Baltlaazar, State Director, Michigan Deparunent‘ofl.abor and .
Eoonomzc G:rowth, Michigan Rehabilitation Sm'vices, P.O. Box 36010, Lansing, MI 48909.
§%§may also informally dismiss this issue with Suzanne Howell. M.A., District Manager, 760-

:A copy of the brochure “How to Appeal Decisions Made by Mchigan Rehabilitation Services”
- is eyelosed. ¥ou also may contact the Client Assismnce Progzam at 1-800-292-5896
VI (voice/'ITY) cf you would like timber information or assistance in appealing the decision to close

yom'cese.

Sjn y, h ..
__.;: " QL» l .-,~~

Daily,MS. ` C
Rehabilitation Counselor

Enclosme _ W

7 mNTD|STRICTQFFiDE»mWESTWATERSTREET¢FUNTZMIM
MMM° (819) 760~2103 ¢T!Y(sm) renew

 

 

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Case 2213-CV-11989-BAF-|\/|AR ECF NO. 1 filed 05/03/13 Page|D.QS Page 93 Of 9

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1. Am¢|eAddrsMed‘lo. RBSerqume UNQ
Office for Civil Rights

U. S. Dep;rtment of Health
and H““~n Services

233 §, Michigan Avenue
Buite 240 v

Chicago, Illinois 60601

 

 

 

 

 

 

 

 

 

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` 1 j'§mden Please print your name, address, and ZlP+4 in this box °

Mr. Desmond G- Walf¢'$
» 1301 w stewart me
Fxmc, m 43504-2279

 

 

 

 

 

 

 

     
     
     

 

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Senr To

US Depart . of Civi lm,!_<igf._g_lf;j;§_
§ih`set. Apt No.

Q'°OB<»“’¢ 2_33 N. Mlclngan A_venue
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, . P e 4 Of 95 _
j “*‘~‘“ ’Z/K’Zase 2: 13-cv-11939-BAF-M@TVELCEBWER1WEi/YS/ Jc§um_l’ 189813 §§ilo.. am‘Y (Z e n e 5 6 6

» he 517-44 civil cover sheer and the information contained herein neither replace nor su plement the tilin
by lo_ca1 rules of courL This form, approved by the Judicial Conference ofthe United §
the Clvll docket Sh€€!. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

1. (3) PLAINTlFFS DEFENDANTS §izf€ 2715 ,//1/\\'¢1’\¢{ 3 w

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(IN U.S. PLAINTIFF CASES ONLY)

NOTE: IN LAND CONDEM'NAT!ON CASES, USE THE LOCAT!ON OF THE
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II. BASIS OF JURISDICTI()N‘J (l>lacc an “X" in On¢ lam only) III. CITIZENSHIP OF PRINFlPA I. pAn'er¢m--- mem m _ ,¢- Plaintiff
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/III. RELATED CASE(S) ,

IF ANY (Seeinstnxctions):\ JUDGE Harl< A v ' 0 DOCKE.I. NUMBER 0 Q .d / 3;? ge
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OR OFFICE USE ONLY / V \/ v

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2.13-C-V- 11989- BAF- l\/lAR ECF NO. l filed 05/03/13 PB_Q€|D. 95 Page 95 Of 95
4uR u/§§FF To LOCAL RuLi=_ 33 11 .

1. ls this a case that has been previously dismissed’? `TéCL‘M¢ZH}/ Yes

[:|No

if yes, give the following information:

Court: 7/$ D/S`é/‘/!C`é CC?£LV`LL
Case No.: 09“’ /3 419 ¢ -
Judge: /W<`lr‘/< A- R`;mcl@/'t ’//Zlef`ngz~cl A- ;rr€c(m@n

 

2. b Other than stated above are there any pending or previously
discontinued or dismissed companion cases in this or any other YeS
court, including state court? (Companion cases are matters in which L:| NO
it appears substantially similar evidence will be offered or the same
or related parties are present and the cases arise out of the same
transaction or occurrence.)

lfyes, give the following information: ,
Court: 30%€\5<10»;'£ C€?vcir'é o'p Claz 171/13
Case No.: /<;z ’ 7 6“' //V/ 24 _

Judge; ROSP€, i’l/LS_`Z_,»\(‘¢; 54 ACZM/'//;“)Z,

 

Notes :

 

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